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    5
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        THE TJX COMPANIES, INC.
    7
    8                            UNITED STATES DISTRICT COURT
    9                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11   THERABODY, INC. a Delaware                       Case No. 2:21-cv-09079
        corporation,
   12
                                                         THE TJX COMPANIES, INC.’S
   13                            Plaintiff,              ANSWER AND ADDITIONAL
                                                         DEFENSES TO SECOND
   14           v.                                       AMENDED COMPLAINT
   15   LEGEND GROUP, INC., TJX
        COMPANIES, INC., a Delaware
   16   corporation, and DOES 1 through 10,
        inclusive,
   17
   18                            Defendants.
   19
   20
                Defendant The TJX Companies, Inc. (“TJX”) hereby answers the Second
   21
        Amended Complaint (“Complaint”) filed by Plaintiff Therabody, Inc.
   22
        (“Therabody”) as follows:
   23
   24
   25
   26
   27
   28


                           THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
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    1                                      GENERAL DENIAL
    2           Unless expressly admitted below, TJX denies each and every allegation set
    3    forth by Therabody in its Complaint.
    4
    5              RESPONSE TO THERABODY’S SPECIFIC ALLEGATIONS
    6    Allegation No. 1:            The Defendants have been and are now infringing
    7    Therabody’s rights in its trademarks, its unique trade dress, and numerous of its
    8    patents by manufacturing, using, selling, offering for sale, or importing various
    9    percussive massage device knock-offs, therefor, and in connection with the
   10    foregoing, using Therabody’s federally registered trademarks and/or its unique and
   11    protectable trade dress.
   12    Response No. 1:
   13             With respect to TJX itself, TJX denies the allegations of Paragraph 1. With
   14    respect to any other defendant, TJX lacks knowledge or information sufficient to
   15    form a belief as to the allegations in Paragraph 1 and therefore denies them.
   16
   17                                         THE PARTIES
   18    Allegation No. 2:            Therabody is, and at all times relevant hereto was, a
   19    corporation duly organized and existing under the laws of the state of Delaware,
   20    with its principal place of business at 9420 Wilshire Blvd., Fourth Floor, Beverly
   21    Hills, California 90212.
   22    Response No. 2:
   23             TJX lacks knowledge or information sufficient to form a belief as to the
   24    allegations in Paragraph 2 and therefore denies them.
   25    Allegation No. 3:            Therabody is informed and believes and, based thereon,
   26    alleges that defendant Legend Group Inc. is a New York corporation with offices
   27    at 6315 Chalet Drive, Commerce, CA 90040 and 16804 Gridley Place, Cerritos,
   28    CA 90703.
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    1    Response No. 3:
    2             TJX lacks knowledge or information sufficient to form a belief as to the
    3    allegations in Paragraph 3 and therefore denies them.
    4
    5    Allegation No. 4:            Therabody is informed and believes and, based thereon,
    6    alleges that defendant TJX Companies, Inc. is a Delaware corporation with places
    7    of business within this District.
    8    Response No. 4:
    9             TJX admits the allegations of Paragraph 4.
   10
   11    Allegation No. 5:            Therabody is ignorant of the true names and capacities of
   12    Defendants sued herein as Does 1 through 10, inclusive, and therefore sues these
   13    Defendants by such fictitious names and capacities. Therabody will amend this
   14    Complaint to allege their true names and capacities when ascertained, along with
   15    the appropriate charging allegations.
   16    Response No. 5:
   17             TJX lacks knowledge or information sufficient to form a belief as to the
   18    allegations in Paragraph 5 and therefore denies them.
   19
   20    Allegation No. 6:            Therabody is informed and believes and thereon alleges
   21    that Defendants are manufacturing, using, selling, or offering for sale within the
   22    United States, or importing into the United States the infringing percussive
   23    massage device described below.
   24    Response No. 6:
   25             With respect to TJX itself, TJX denies the allegations of Paragraph 6. With
   26    respect to any other defendant, TJX lacks knowledge or information sufficient to
   27    form a belief as to the allegations in Paragraph 6 and therefore denies them.
   28
                                                      2
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    1    Allegation No. 7:            Therabody is informed and believes and thereon alleges
    2    that each of the Defendants conspired and acted in concert with one or more other
    3    Defendants to commit the wrongs against Therabody alleged herein, and in doing
    4    so were at all relevant times the agents, servants, employees, principals, joint
    5    venturers, alter egos, and/or partners of each other. Therabody is further informed
    6    and believes and on that basis alleges that, in doing the things alleged in this
    7    Complaint, each of the Defendants was acting within the scope of authority
    8    conferred upon that Defendant by the consent, approval, and/or ratification of one
    9    or more of the other Defendants.
   10    Response No. 7:
   11             With respect to TJX itself, TJX denies the allegations of Paragraph 7. With
   12    respect to any other defendant, TJX lacks knowledge or information sufficient to
   13    form a belief as to the allegations in Paragraph 7 and therefore denies them.
   14
   15                                 JURISDICTION AND VENUE
   16    Allegation No. 8:            This is an action for (a) trademark and trade dress
   17    infringement under Section 43 of the Lanham Act, 15 U.S.C. §§ 1114, 1125; (b)
   18    trademark and trade dress infringement under the laws of the state of California;
   19    (c) patent infringement under the patent laws of the United States, 35 U.S.C. §
   20    271; and (d) unfair competition pursuant to California Business and Professions
   21    Code Section 17200, et seq.
   22    Response No. 8:
   23             TJX admits that Therabody has brought forth this action pursuant to the
   24    claims listed in Paragraph 8. TJX denies all allegations of trademark infringement,
   25    trade dress infringement, patent infringement, or unfair competition.
   26    Allegation No. 9:            This Court has subject matter jurisdiction over the trade
   27    dress and patent claims in this action pursuant to 28 U.S.C. §1338(a) and 15
   28    U.S.C. §1121. This Court has supplemental jurisdiction over the remaining state
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    1    law claims under 28 U.S.C. §1367 because the claims are so related to
    2    Therabody’s claims under federal law that they derive from a common nucleus of
    3    operative fact and form part of the same case or controversy.
    4    Response No. 9:
    5             The allegations of Paragraph 9 contain legal conclusions to which no
    6    response of TJX is required. To the extent Paragraph 9 is construed to contain
    7    factual allegations requiring a response, they are denied.
    8
    9    Allegation No. 10:           This Court has personal jurisdiction over Defendants and
   10    venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and § 1400(b).
   11    Therabody is informed and believes and, based thereon, alleges that, defendant
   12    Legend has offices in this District, including at 6315 Chalet Drive, Commerce,
   13    CA 90040 and 16804 Gridley Place, Cerritos, CA 90703, defendant TJX has
   14    numerous places of business in this District, and that Defendants have committed
   15    acts of infringement in this District, including the distribution, promoting,
   16    marketing, selling, offering for sale, importing, and/or advertising their infringing
   17    products in or to this District and/or to businesses and individuals in this District.
   18    Therabody is further informed and believes and, based thereon, alleges that
   19    Defendants derive substantial revenue from the distribution, promotion,
   20    marketing, sale, offer for sale, or import of infringing products in or to this
   21    District. Finally, Defendants infringing acts are causing harm to Therabody, a
   22    resident of this District.
   23    Response No. 10:
   24             The allegations of the first sentence of Paragraph 10 contain legal
   25    conclusions to which no response of TJX is required. With respect to TJX itself,
   26    TJX admits that it has places of business in this District but denies the remaining
   27    allegations of Paragraph 10. With respect to any other defendant, TJX lacks
   28    knowledge or information sufficient to form a belief as to the allegations in
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    1    Paragraph 10 and therefore denies them.
    2
    3                                  GENERAL ALLEGATIONS
    4                            Therabody’s Trade Dress and Trademarks
    5    Allegation No. 11:           Therabody is in the business of developing,
    6    manufacturing and selling high-quality, innovative percussive therapy devices.
    7    Therabody invests considerable time, effort, and money in developing and
    8    protecting its intellectual property, including the trade dress of its products.
    9    Response No. 11:
   10             TJX lacks knowledge or information sufficient to form a belief as to the
   11    allegations in Paragraph 11 and therefore denies them.
   12
   13    Allegation No. 12:           Since at least as early as January 2019, Therabody has
   14    used a distinctive triangle product design trade dress, examples of which are
   15    shown below (the “Triangle Trade Dress”).
   16    Response No. 12:
   17             TJX lacks knowledge or information sufficient to form a belief as to the
   18    allegations in Paragraph 12 and therefore denies them.
   19
   20    Allegation No. 13:           The Triangle Trade Dress, shown in the above images,
   21    features: (1) a percussive massage device generally in the shape of a right triangle,
   22    comprising one shorter leg, one longer leg, and one hypotenuse; (2) a thick longer
   23    leg, a shorter leg of relative less thickness, and a hypotenuse that is relatively
   24    thinner than both legs; (3) a circular design or “head” at the corner where the
   25    hypotenuse and the longer leg meet; and (4) an arm to which massage head
   26    attachments are attached extending from the circular head.
   27    Response No. 13:
   28             TJX lacks knowledge or information sufficient to form a belief as to the
                                                      5
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    1    allegations in Paragraph 13 and therefore denies them.
    2
    3    Allegation No. 14:           Therabody introduced the Triangle Trade Dress with its
    4    third-generation percussive massage device, which were introduced at least as
    5    early as January 2019. Therabody’s line of third-generation percussive massage
    6    device included three the percussive massage devices available at three price
    7    points. All three of Therabody’s third-generation percussive massage devices
    8    featured the Triangle Trade Dress. The third-generation percussive massage
    9    devices at the two highest price points featured the Triangle Trade Dress, plus an
   10    additional design element, namely, a key-shaped design element formed by
   11    combination of the circular head and the longer leg itself (highlighted in the
   12    images below). The combination of the Triangle Trade Dress and the key-shaped
   13    design element is referred to herein as the Key Trade Dress.
   14    Response No. 14:
   15             TJX lacks knowledge or information sufficient to form a belief as to
   16    Therabody’s allegations in Paragraph 14 and therefore denies them.
   17
   18    Allegation No. 15:           The most advanced, most refined, and most expensive of
   19    the three third-generation percussive massage devices was called the
   20    THERAGUN G3PRO. The trade dress for the THERAGUN G3PRO included the
   21    Key Trade Dress, plus the following additional elements: (1) the circular head is a
   22    distinctive, metallic blue color; (2) on one side of the percussive massage device,
   23    the circular head is solid blue; (3) the THERAGUN mark is displayed at the
   24    opposite end of the longer leg from the circular head; and (4) the outer surfaces of
   25    the legs and hypotenuse feature a cross hatch texture (all as shown in the images
   26    below). The combination of the Key Trade Dress and the foregoing elements is
   27    referred to herein as the PRO Trade Dress.
   28    Response No. 15:
                                                      6
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    1             TJX lacks knowledge or information sufficient to form a belief as to
    2    Therabody’s allegations in Paragraph 15 and therefore denies them.
    3
    4    Allegation No. 16:           Therabody’s line of fourth-generation percussive
    5    massage device were introduced at least as early as May 2020. The line includes
    6    three percussive massage device bearing the Triangle Trade Dress, each at
    7    different price points. The fourth-generation percussive massage devices at the
    8    two highest price points, the THERAGUN PRO and the THERAGUN ELITE,
    9    also feature the Key Trade Dress. The THERAGUN PRO is most advanced, most
   10    refined, and most expensive of the three products. Like the THERAGUN G3PRO,
   11    the THERAGUN PRO also bears the PRO Trade Dress.
   12    Response No. 16:
   13             TJX lacks knowledge or information sufficient to form a belief as to
   14    Therabody’s allegations in Paragraph 16 and therefore denies them.
   15
   16    Allegation No. 17:           Therabody has developed trade dress rights in the
   17    Triangle Trade Dress. The Triangle Trade Dress is not functional: it does not
   18    provide a utilitarian advantage, a plethora of alternative product shapes and
   19    designs are available for use, and their use is not the result of a simple or
   20    inexpensive method of manufacture. Therabody selected the elements of the
   21    Triangle Trade Dress for the purpose of identifying its products and distinguishing
   22    them from the products of third parties.
   23    Response No. 17:
   24             With respect to Therabody’s allegation that the Triangle Trade Dress is not
   25    functional, TJX denies it. TJX lacks knowledge or information sufficient to form a
   26    belief as to Therabody’s remaining allegations in Paragraph 17 and therefore
   27    denies them.
   28
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                           THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
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    1    Allegation No. 18:           The Triangle Trade Dress is either inherently distinctive
    2    or, through Therabody’s continuous use and promotion, has acquired
    3    distinctiveness, and the Triangle Trade Dress is uniquely associated with
    4    Therabody and its percussive massage device. Therabody has used the Triangle
    5    Trade Dress since it introduced its third-generation percussive massage devices at
    6    least as early as January 2019.
    7    Response No. 18:
    8             With respect to Therabody’s allegation that the Triangle Trade Dress is
    9    distinctive, either inherently or through acquired distinctiveness, TJX denies it.
   10    TJX lacks knowledge or information sufficient to form a belief as to Therabody’s
   11    remaining allegations in Paragraph 18 and therefore denies them.
   12
   13    Allegation No. 19:           Therabody has developed trade dress rights in the Key
   14    Trade Dress. The Key Trade Dress is not functional: it does not provide a
   15    utilitarian advantage, a plethora of alternative product shapes and designs are
   16    available for use, and their use is not the result of a simple or inexpensive method
   17    of manufacture. Therabody selected the elements of the Key Trade Dress for the
   18    purpose of identifying its products and distinguishing them from the products of
   19    third parties.
   20    Response No. 19:
   21             With respect to Therabody’s allegation that the Key Trade Dress is not
   22    functional, TJX denies it. TJX lacks knowledge or information sufficient to form a
   23    belief as to Therabody’s remaining allegations in Paragraph 19 and therefore
   24    denies them.
   25
   26    Allegation No. 20:           The Key Trade Dress is either inherently distinctive or,
   27    through Therabody’s continuous use and promotion, has acquired distinctiveness,
   28    and the Key Trade Dress is uniquely associated with Therabody and its percussive
                                                      8
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  1    massage device. Therabody has used the Key Trade Dress since it introduced its
  2    third-generation percussive massage devices at least as early as January 2019.
  3    Response No. 20:
  4             With respect to Therabody’s allegation that the Key Trade Dress is
  5    distinctive, either inherently or through acquired distinctiveness, TJX denies it.
  6    TJX lacks knowledge or information sufficient to form a belief as to Therabody’s
  7    remaining allegations in Paragraph 20 and therefore denies them.
  8
  9    Allegation No. 21:           Therabody has developed trade dress rights in the PRO
 10    Trade Dress. The PRO Trade Dress is not functional: it does not provide a
 11    utilitarian advantage, a plethora of alternative product colors, shapes, and designs
 12    are available for use, and their use is not the result of a simple or inexpensive
 13    method of manufacture. Therabody selected the elements of the PRO Trade Dress
 14    for the purpose of identifying its products and distinguishing them from the
 15    products of third parties.
 16    Response No. 21:
 17             With respect to Therabody’s allegation that the PRO Trade Dress is not
 18    functional, TJX denies it. TJX lacks knowledge or information sufficient to form a
 19    belief as to Therabody’s remaining allegations in Paragraph 21 and therefore
 20    denies them.
 21
 22    Allegation No. 22:           The PRO Trade Dress is either inherently distinctive or,
 23    through Therabody’s continuous use and promotion, has acquired distinctiveness,
 24    and the PRO Trade Dress is uniquely associated with Therabody and its
 25    percussive massage device. Therabody has used the PRO Trade Dress since it
 26    introduced its third-generation percussive massage devices at least as early as
 27    January 2019.
 28
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  1    Response No. 22:
  2             With respect to Therabody’s allegation that the PRO Trade Dress is
  3    distinctive, either inherently or through acquired distinctiveness, TJX denies it.
  4    TJX lacks knowledge or information sufficient to form a belief as to Therabody’s
  5    remaining allegations in Paragraph 22 and therefore denies them.
  6
  7    Allegation No. 23:           Therabody has sold millions of dollars of products
  8    bearing its distinctive Triangle Trade Dress, Key Trade Dress, and PRO Trade
  9    Dress. It has spent millions of dollars to promote its products bearing its Triangle
 10    Trade Dress, Key Trade Dress, and PRO Trade Dress. Therabody products
 11    bearing the Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress are
 12    used by numerous celebrities and professional athletes and have been the subject
 13    of extensive press and advertising. As a result of Therabody’s extensive
 14    advertising and promotion and the widespread, and high profile, use of
 15    Therabody’s Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress,
 16    including as described above, Therabody’s Triangle Trade Dress, Key Trade
 17    Dress, and PRO Trade Dress are associated by the public exclusively with
 18    Therabody and its products and are used by the public as indicators of the origin
 19    and quality of Therabody’s percussive massage device.
 20    Response No. 23:
 21             TJX lacks knowledge or information sufficient to form a belief as to
 22    Therabody’s allegations in Paragraph 23 and therefore denies them.
 23
 24    Allegation No. 24:           Additionally, Defendants’ have copied Therabody’s
 25    Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress, as have numerous
 26    third parties. Such copying is further evidence that Therabody’s Triangle Trade
 27    Dress, Key Trade Dress, and PRO Trade Dress have secondary meaning.
 28
                                                    10
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  1    Response No. 24:
  2             With respect to Paragraph 24, TJX denies that it has copied Therabody’s
  3    Triangle Trade Dress, Key Trade Dress, PRO Trade Dress, and further denies that
  4    Therabody’s Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress have
  5    secondary meaning. With respect to any other defendant or third parties, TJX
  6    lacks knowledge or information sufficient to form a belief as to the allegations in
  7    Paragraph 24 and therefore denies them.
  8
  9    Allegation No. 25:           Therabody owns the trademarks THERAGUN G3PRO,
 10    THERAGUN PRO, and THERAGUN ELITE, which trademarks are the subject
 11    of U.S. Reg. Nos. 6043891, 6,126,362 and 6,126,363, all for, inter alia, massage
 12    apparatus.
 13    Response No. 25:
 14             TJX lacks knowledge or information sufficient to form a belief as to
 15    Therabody’s allegations in Paragraph 25 and therefore denies them.
 16
 17    Allegation No. 26:           Therabody is a pioneer in the percussive massage therapy
 18    device market and, by delivering premier-quality products using its Triangle Trade
 19    Dress, Key Trade Dress, and PRO Trade Dress and THERAGUN G3PRO,
 20    THERAGUN PRO, and THERAGUN ELITE marks, Plaintiff has established a
 21    reputation for providing outstanding massage therapy products and customer
 22    service associated with that trade dress and those trademarks. Consumers have
 23    come to recognize that trade dress and those trademarks as indicators of
 24    excellence and as uniquely identifying Therabody as the source of the products
 25    and services associated in connection with which they are used.
 26    Response No. 26:
 27             TJX lacks knowledge or information sufficient to form a belief as to
 28    Therabody’s allegations in Paragraph 26 and therefore denies them.
                                                    11
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  1                                       Therabody’s Patents
  2    Allegation No. 27:           On July 7, 2020, the United States Patent and Trademark
  3    Office issued United States Patent Number 10,702,448, entitled “Percussive
  4    Massage Device and Method of Use” (hereinafter the “’448 Patent”). A true and
  5    correct copy of the ’448 Patent is attached hereto as Exhibit 1.
  6    Response No. 27:
  7             TJX admits that Therabody has attached what purports to be a copy of the
  8    ’448 Patent as Exhibit 1, but lacks knowledge or information sufficient to form a
  9    belief regarding Therabody’s allegation that Exhibit 1 is a true and correct copy.
 10    TJX admits that the face of the document Therabody alleges is a copy of the ’448
 11    Patent states that it (i) is titled “Percussive massage device and method of use”
 12    and (ii) issued on July 7, 2020.
 13
 14    Allegation No. 28:           Therabody is the owner of the ‘448 Patent. The ‘448
 15    Patent is presumed to be valid and is prima facie proof that the inventions claimed
 16    in ‘448 Patent are novel and non-obvious.
 17    Response No. 28:
 18             TJX lacks knowledge or information sufficient to form a belief as to
 19    Therabody’s allegations in the first sentence of Paragraph 28 and therefore denies
 20    them. TJX denies that the ‘448 Patent is novel and non-obvious. The remaining
 21    allegations of Paragraph 28 of the Complaint constitute legal conclusions to which
 22    no response of TJX is required.
 23
 24    Allegation No. 29:           The ’448 Patent pertains to a percussive massage device
 25    and method of using a percussive massage device.
 26    Response No. 29:
 27             The ‘448 Patent speaks for itself, and to the extent the allegations of
 28    Paragraph 29 of the Complaint distort or mischaracterize the ‘448 Patent they are
                                                    12
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  1    denied.
  2
  3    Allegation No. 30:           On December 8, 2020, the United States Patent and
  4    Trademark Office issued United States Patent Number 10,857,064, entitled
  5    “Percussive Therapy Device” (hereinafter the “’064 Patent”). A true and correct
  6    copy of the ’064 Patent is attached hereto as Exhibit 2.
  7    Response No. 30:
  8             TJX admits that Therabody has attached what purports to be a copy of the
  9    ’064 Patent as Exhibit 2, but lacks knowledge or information sufficient to form a
 10    belief regarding Therabody’s allegation that Exhibit 2 is a true and correct copy.
 11    TJX admits that the face of the document Therabody alleges is a copy of the ’064
 12    Patent states that it (i) is titled “Percussive Therapy Device” and (ii) issued on
 13    December 8, 2020.
 14
 15    Allegation No. 31:           Therabody is the owner of the ‘064 Patent. The ‘064
 16    Patent is presumed to be valid and is prima facie proof that the inventions claimed
 17    in the ‘064 Patent are novel and non-obvious.
 18    Response No. 31:
 19             TJX lacks knowledge or information sufficient to form a belief as to
 20    Therabody’s allegations in the first sentence of Paragraph 31 and therefore denies
 21    them. TJX denies that the ‘064 Patent is novel and non-obvious. The remaining
 22    allegations of Paragraph 31 of the Complaint constitute legal conclusions to which
 23    no response of TJX is required.
 24
 25    Allegation No. 32:           The ‘064 Patent pertains to a percussive massage device
 26    and method of using a percussive massage device.
 27    Response No. 32:
 28             The ‘064 Patent speaks for itself, and to the extent the allegations of
                                                    13
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  1    Paragraph 32 of the Complaint distort or mischaracterize the ‘064 Patent they are
  2    denied.
  3
  4    Allegation No. 33:           On November 2, 2021, the United States Patent and
  5    Trademark Office issued United States Patent Number 11,160,722, entitled
  6    “Percussive Massage Device and Method of Use” (hereinafter the “’722 Patent”).
  7    A true and correct copy of the ’722 Patent is attached hereto as Exhibit 3.
  8    Response No. 33:
  9             TJX admits that Therabody has attached what purports to be a copy of the
 10    ‘722 Patent as Exhibit 3, but lacks knowledge or information sufficient to form a
 11    belief regarding Therabody’s allegation that Exhibit 3 is a true and correct copy.
 12    TJX admits that the face of the document Therabody alleges is a copy of the ’722
 13    Patent states that it (i) is entitled “Percussive Massage Device and Method of Use”
 14    and (ii) issued on November 2, 2021.
 15
 16    Allegation No. 34:           Therabody is the owner of the ‘722 Patent. The ‘722
 17    Patent is presumed to be valid and is prima facie proof that the inventions claimed
 18    in the ‘722 Patent are novel and non-obvious.
 19    Response No. 34:
 20             TJX lacks knowledge or information sufficient to form a belief as to
 21    Therabody’s allegations in the first sentence of Paragraph 34 and therefore denies
 22    them. TJX denies that the ‘722 Patent is novel and non-obvious. The remaining
 23    allegations of Paragraph 34 of the Complaint constitute legal conclusions to which
 24    no response of TJX is required.
 25
 26    Allegation No. 35:           The ‘722 Patent pertains to a percussive massage device
 27    and method of using a percussive massage device.
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  1    Response No. 35:
  2             The ‘722 Patent speaks for itself, and to the extent the allegations of
  3    Paragraph 35 of the Complaint distort or mischaracterize the ‘064 Patent they are
  4    denied.
  5
  6    Allegation No. 36:           On April 7, 2020, the United States Patent and
  7    Trademark Office issued United States Patent Number D880,714, entitled
  8    “Percussive Massage Device” (hereinafter the “’D714 Patent”). A true and correct
  9    copy of the ‘D714 Patent is attached hereto as Exhibit 4.
 10    Response No. 36:
 11             TJX admits that Therabody has attached what purports to be a copy of the
 12    ’D714 Patent as Exhibit 4, but lacks knowledge or information sufficient to form a
 13    belief regarding Therabody’s allegation that Exhibit 4 is a true and correct copy.
 14    TJX admits that the face of the document Therabody alleges is a copy of the
 15    ’D714 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 16    issued on April 7, 2020.
 17
 18    Allegation No. 37:           Therabody is the owner of the ‘D714 Patent. The ‘D714
 19    Patent is presumed to be valid and is prima facie proof that the design shown in
 20    the ‘D714 Patent is novel and non-obvious.
 21    Response No. 37:
 22             TJX lacks knowledge or information sufficient to form a belief as to
 23    Therabody’s allegations in the first sentence of Paragraph 37 and therefore denies
 24    them. TJX denies that the ‘D714 Patent is novel and non-obvious. The remaining
 25    allegations of Paragraph 37 of the Complaint constitute legal conclusions to which
 26    no response of TJX is required.
 27
 28
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  1    Allegation No. 38:           The ‘D714 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 38:
  4             The ‘D714 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 38 of the Complaint distort or mischaracterize the ‘D714 Patent they
  6    are denied.
  7
  8    Allegation No. 39:           On April 7, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D880,715, entitled
 10    “Percussive Massage Device” (hereinafter the “’D715 Patent”). A true and correct
 11    copy of the ‘D715 Patent is attached hereto as Exhibit 5.
 12    Response No. 39:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D715 Patent as Exhibit 5, but lacks knowledge or information sufficient to form a
 15    belief regarding Therabody’s allegation that Exhibit 5 is a true and correct copy.
 16    TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D715 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on April 7, 2020.
 19
 20    Allegation No. 40:           Therabody is the owner of the ‘D715 Patent. The ‘D715
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D715 Patent is novel and non-obvious.
 23    Response No. 40:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 40 and therefore denies
 26    them. TJX denies that the ‘D715 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 40 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 41:           The ‘D715 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 41:
  4             The ‘D715 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 41 of the Complaint distort or mischaracterize the ‘D715 Patent they
  6    are denied.
  7
  8    Allegation No. 42:           On May 26, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D885,601, entitled
 10    “Percussive Massage Device” (hereinafter the “’D601 Patent”). A true and correct
 11    copy of the ‘D601 Patent is attached hereto as Exhibit 6.
 12    Response No. 42:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D601 Patent as Exhibit 6, but lacks knowledge or information sufficient to form a
 15    belief regarding Therabody’s allegation that Exhibit 6 is a true and correct copy.
 16    TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D601 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on May 26, 2020.
 19
 20    Allegation No. 43:           Therabody is the owner of the ‘D601 Patent. The ‘D601
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D601 Patent is novel and non-obvious.
 23    Response No. 43:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 43 and therefore denies
 26    them. TJX denies that the ‘D601 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 43 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 44:           The ‘D601 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 44:
  4             The ‘D601 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 44 of the Complaint distort or mischaracterize the ‘D601 Patent they
  6    are denied.
  7
  8    Allegation No. 45:           On June 16, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D887,573, entitled
 10    “Percussive Massage Device” (hereinafter the “’D573 Patent”). A true and correct
 11    copy of the ‘D573 Patent is attached hereto as Exhibit 7.
 12    Response No. 45:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D573 Patent as Exhibit 7, but lacks knowledge or information sufficient to form a
 15    belief regarding Therabody’s allegation that Exhibit 7 is a true and correct copy.
 16    TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D573 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on June 16, 2020.
 19
 20    Allegation No. 46:           Therabody is the owner of the ‘D573 Patent. The ‘D573
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D573 Patent is novel and non-obvious.
 23    Response No. 46:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 46 and therefore denies
 26    them. TJX denies that the ‘D573 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 46 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 47:           The ‘D573 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 47:
  4             The ‘D573 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 47 of the Complaint distort or mischaracterize the ‘D573 Patent they
  6    are denied.
  7
  8    Allegation No. 48:           On April 7, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D880,716, entitled
 10    “Percussive Massage Device” (hereinafter the “’D716 Patent”). A true and correct
 11    copy of the ’D716 Patent is attached hereto as Exhibit 8.
 12    Response No. 48:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D716 Patent as Exhibit 8, but lacks knowledge or information sufficient to form a
 15    belief regarding Therabody’s allegation that Exhibit 8 is a true and correct copy.
 16    TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D716 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on April 7, 2020.
 19
 20    Allegation No. 49:           Therabody is the owner of the ‘D716 Patent. The ‘D716
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D716 Patent is novel and non-obvious.
 23    Response No. 49:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 49 and therefore denies
 26    them. TJX denies that the ‘D716 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 49 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 50:           The ‘D716 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device
  3    Response No. 50:
  4             The ‘D716 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 38 of the Complaint distort or mischaracterize the ‘D716 Patent they
  6    are denied.
  7
  8    Allegation No. 51:           On September 15, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D896,396, entitled
 10    “Percussive Massage Device” (hereinafter the “’D396 Patent”). A true and correct
 11    copy of the ‘D396 Patent is attached hereto as Exhibit 9.
 12    Response No. 51:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D396 Patent as Exhibit 9, but lacks knowledge or information sufficient to form a
 15    belief regarding Therabody’s allegation that Exhibit 9 is a true and correct copy.
 16    TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D396 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on Sept. 15, 2020.
 19
 20    Allegation No. 52:           Therabody is the owner of the ‘D396 Patent. The ‘D396
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D396 Patent is novel and non-obvious.
 23    Response No. 52:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 52 and therefore denies
 26    them. TJX denies that the ‘D396 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 52 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 53:           The ‘D396 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 53:
  4             The ‘D396 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 53 of the Complaint distort or mischaracterize the ‘D396 Patent they
  6    are denied.
  7
  8    Allegation No. 54:           On March 31, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D879,985, entitled
 10    “Percussive Massage Device” (hereinafter the “’D985 Patent”). A true and correct
 11    copy of the ‘D985 Patent is attached hereto as Exhibit 10.
 12    Response No. 54:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D985 Patent as Exhibit 10, but lacks knowledge or information sufficient to form
 15    a belief regarding Therabody’s allegation that Exhibit 10 is a true and correct
 16    copy. TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D985 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on March 31, 2020.
 19
 20    Allegation No. 55:           Therabody is the owner of the ‘D985 Patent. The ‘D985
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D985 Patent is novel and non-obvious.
 23    Response No. 55:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 55 and therefore denies
 26    them. TJX denies that the ‘D985 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 55 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 56:           The ‘D985 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 56:
  4             The ‘D985 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 56 of the Complaint distort or mischaracterize the ‘D985 Patent they
  6    are denied.
  7
  8    Allegation No. 57:           On March 31, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D879,986, entitled
 10    “Percussive Massage Device” (hereinafter the “’D986 Patent”). A true and correct
 11    copy of the ‘D986 Patent is attached hereto as Exhibit 11.
 12    Response No. 57:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D986 Patent as Exhibit 11, but lacks knowledge or information sufficient to form
 15    a belief regarding Therabody’s allegation that Exhibit 11 is a true and correct
 16    copy. TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D986 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on March 31, 2020.
 19
 20    Allegation No. 58:           Therabody is the owner of the ‘D986 Patent. The ‘D986
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D986 Patent is novel and non-obvious
 23    Response No. 58:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 58 and therefore denies
 26    them. TJX denies that the ‘D714 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 58 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
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  1    Allegation No. 59:           The ‘D986 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 59:
  4             The ‘D986 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 59 of the Complaint distort or mischaracterize the ‘D986 Patent they
  6    are denied.
  7
  8    Allegation No. 60:           On May 19, 2020, the United States Patent and
  9    Trademark Office issued United States Patent Number D884,915, entitled
 10    “Percussive Massage Device” (hereinafter the “’D915 Patent”). A true and correct
 11    copy of the ‘D915 Patent is attached hereto as Exhibit 12.
 12    Response No. 60:
 13             TJX admits that Therabody has attached what purports to be a copy of the
 14    ’D915 Patent as Exhibit 12, but lacks knowledge or information sufficient to form
 15    a belief regarding Therabody’s allegation that Exhibit 12 is a true and correct
 16    copy. TJX admits that the face of the document Therabody alleges is a copy of the
 17    ’D915 Patent states that it (i) is entitled “Percussive Massage Device” and (ii)
 18    issued on May 19, 2020.
 19
 20    Allegation No. 61:           Therabody is the owner of the ‘D915 Patent. The ‘D915
 21    Patent is presumed to be valid and is prima facie proof that the design shown in
 22    the ‘D915 Patent is novel and non-obvious.
 23    Response No. 61:
 24             TJX lacks knowledge or information sufficient to form a belief as to
 25    Therabody’s allegations in the first sentence of Paragraph 61 and therefore denies
 26    them. TJX denies that the ‘D915 Patent is novel and non-obvious. The remaining
 27    allegations of Paragraph 61 of the Complaint constitute legal conclusions to which
 28    no response of TJX is required.
                                                    23
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  1    Allegation No. 62:           The ‘D915 Patent pertains to a particular ornamental
  2    design for a therapeutic percussive massage device.
  3    Response No. 62:
  4             The ‘D915 Patent speaks for itself, and to the extent the allegations of
  5    Paragraph 62 of the Complaint distort or mischaracterize the ‘D915 Patent they
  6    are denied.
  7
  8    Allegation No. 63:           Therabody’s patented and patent-pending devices are
  9    innovative and have received industry praise and recognition, including the 2019
 10    A’ Design Award in Digital and Electronic Devices Design for its Therabody
 11    G3PRO design.
 12    Response No. 63:
 13             TJX lacks knowledge or information sufficient to form a belief as to
 14    Therabody’s remaining allegations in Paragraph 63 and therefore denies them.
 15
 16                                 Defendant’s Infringing Conduct
 17    Allegation No. 64:           Therabody is informed and believes and based thereon
 18    alleges that Defendants recently began competing with Therabody in the
 19    percussive massage device industry by manufacturing or selling percussive
 20    massage devices infringing Therabody’s trade dress, trademarks and patents.
 21    Specifically, Defendants manufacture or sell: 1) TRAKK PRO percussive
 22    massage device (the “First Infringing Device”); 2) TRAKK ELITE percussive
 23    massage device (the “Second Infringing Device”) and 3) strettoPro percussive
 24    massage device (the “Third Infringing Device”) (collectively, the “Infringing
 25    Products”).
 26    Response No. 64:
 27             With respect to TJX itself, TJX denies that it has manufactured any of the
 28    accused products. TJX admits that it has offered for sale TRAKK PRO percussive
                                                    24
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  1    massage devices and TRAKK ELITE percussive massage devices, but responding
  2    further states that it currently lacks knowledge or information sufficient to form a
  3    belief as to whether it has offered for sale of strettoPro percussive massage
  4    devices and therefore denies them. TJX denies that it has committed trademark
  5    infringement, trade dress infringement, and/or patent infringement as a result of
  6    offering for sale the TRAKK PRO percussive massage devices, TRAKK ELITE
  7    percussive massage devices, and/or strettoPro percussive massage devices. TJX
  8    denies the remaining allegations of Paragraph 64. With respect to any other
  9    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 10    the allegations in Paragraph 64 and therefore denies them.
 11
 12    Allegation No. 65:           On or about August 11, 2021, Therabody first became
 13    aware of Defendants’ First Infringing Device (shown below) through Defendant
 14    Legends Amazon retail page. On August 11, 2021, Therabody sent a cease-and-
 15    desist letter demanding that Defendant Legend immediately ends their use of
 16    infringing trade dress and all manufacture, offer for sale, sale, use and importation
 17    of the Infringing Products. Since then, Therabody has seen these same infringing
 18    products being promoted in a number of locations, including in Defendant TJX’s
 19    stores as well as on Walmart, Staples and Office Depot websites and Defendant’s
 20    website at https://www.shoptrakk.com/.
 21    Response No. 65:
 22             TJX denies all allegations of infringement pled against it. TJX lacks
 23    knowledge or information sufficient to form a belief as to Therabody’s remaining
 24    allegations in Paragraph 65 and therefore denies them.
 25
 26    Allegation No. 66:           On or about September 23, 2021, Therabody first became
 27    aware of Defendant’s Second Infringing Device (shown below) through
 28    Defendant’s website at https://www.shoptrakk.com/ as well as multiple major e-
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  1    commerce platforms such as Amazon and Newegg, and major retailers such as
  2    Office Depot, Walmart, Radio Shack. On September 23, 2021, Therabody sent a
  3    cease-and-desist letter demanding that Defendants immediately end their use of
  4    infringing trade dress and all manufacture, offer for sale, sale, use and importation
  5    of the Infringing Products.
  6    Response No. 66:
  7             TJX lacks knowledge or information sufficient to form a belief as to
  8    Therabody’s allegations in Paragraph 66 and therefore denies them.
  9
 10    Allegation No. 67:           On or about December 18, 2021, Therabody first became
 11    aware of one or more the Infringing Devices at one of Defendant TJX’s retail
 12    stores in Delaware and on December 23, 2021 in Defendant TJX’s Marshall’s
 13    store in Studio City, California. On December 22, 2021, Therabody sent a cease
 14    and desist notification to Defendant TJX demanding that, among other things,
 15    Defendant TJX immediately cease making, offering for sale, using, importing,
 16    and/or sale of the Infringing Products, including products that infringe U.S. Patent
 17    Nos. 10,702,448 (triangle), 10,857,064 (triangle), 11,160,722 (triangle),
 18    D880,714, D880,715, D885,601, D887,573, D880,716, D896,396, D879,985,
 19    D879,986, D884,915 as well as the patents and design registrations listed under
 20    “Patents and Design Registrations” on www.therabody.com and
 21    www.theragun.com (collectively, “Therabody’s Percussive Massage Patents”) and
 22    Therabody’s Trade Dress.
 23    Response No. 67:
 24             TJX admits it received an email purportedly from Therabody dated
 25    December 22, 2021, which speaks for itself. To the extent the allegations of
 26    Paragraph 67 of the Complaint distort or mischaracterize that email, they are
 27    denied. TJX lacks knowledge or information sufficient to form a belief as to
 28    Therabody’s remaining allegations in Paragraph 67 and therefore denies them.
                                                    26
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  1    Allegation No. 68:           On or about February 26, 2022, Therabody first became
  2    aware of Defendant’s Third Infringing Device (shown below) through at one of
  3    Defendant TJX’s retail stores.
  4    Response No. 68:
  5             TJX lacks knowledge or information sufficient to form a belief as to
  6    Therabody’s allegations in Paragraph 68 and therefore denies them.
  7
  8    Allegation No. 69:           It is clear from their product design and product name
  9    selection that Defendants are deliberately imitating Plaintiff. Defendants product
 10    design is virtually identical to the Triangle Trade Dress, Key Trade Dress, and the
 11    PRO Trade Dress. Defendants have adopted both PRO and ELITE as names for its
 12    percussive massage device.
 13    Response No. 69:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 69. With
 15    respect to any other defendant, TJX lacks knowledge or information sufficient to
 16    form a belief as to the allegations in Paragraph 69 and therefore denies them.
 17
 18    Allegation No. 70:           As described herein, the First and Third Infringing
 19    Devices infringe numerous Therabody patents. Additionally, the First and Third
 20    Infringing Devices incorporate each element of the Triangle Trade Dress, Key
 21    Trade Dress, and the PRO Trade Dress. The First Infringing Device uses the name
 22    TRAKK PRO.
 23    Response No. 70:
 24             TJX denies the allegations in Paragraph 70.
 25
 26    Allegation No. 71:           Defendants’ conduct is likely to cause confusion or
 27    mistake, or to deceive members of the public into believing that Defendants or
 28    their percussive massage device are approved, sponsored, endorsed, or licensed
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  1    by, or affiliated, associated, or otherwise connected with Therabody, which is not
  2    the case. Such confusion, mistake, or deception will inevitably continue after the
  3    sale of the products, as consumers continue to encounter Defendants’ infringing
  4    products at gyms, in therapists or doctors’ offices, or in other post-sale contexts,
  5    and as a result of such post-sale confusion the harm to Therabody’s reputation will
  6    continue and be amplified.
  7    Response No. 71:
  8             With respect to TJX itself, TJX denies the allegations in Paragraph 71. With
  9    respect to any other defendant, TJX lacks knowledge or information sufficient to
 10    form a belief as to the allegations in Paragraph 71 and therefore denies them.
 11
 12    Allegation No. 72:           Notwithstanding Therabody’s demand that Defendants
 13    cease their infringing conduct and in conscious disregard of Therabody’s
 14    intellectual property rights as set forth herein, Defendants have continued to make,
 15    use, offer for sale, sell, and import into the United States the Infringing Products
 16    as well as use Therabody’s Trade Dress and Trademarks in conjunction with their
 17    percussive massage devices and in direct competition with Therabody.
 18    Response No. 72:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 72. With
 20    respect to any other defendant, TJX lacks knowledge or information sufficient to
 21    form a belief as to the allegations in Paragraph 72 and therefore denies them.
 22
 23                                  FIRST CAUSE OF ACTION
 24                        Federal Trademark Infringement, 15. U.S.C. § 1114
 25                                     (Against All Defendants)
 26    Allegation No. 73:           Therabody realleges and incorporates by reference all
 27    foregoing paragraphs as if fully set forth herein.
 28
                                                    28
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  1    Response No. 73:
  2             TJX realleges and reincorporates by reference all foregoing paragraphs as if
  3    fully set forth herein.
  4
  5    Allegation No. 74:           Therabody owns the trademarks THERAGUN G3PRO,
  6    THERAGUN PRO, and THERAGUN ELITE (collectively, the “Trademarks”),
  7    which are the subject of U.S. Reg. Nos. 6043891, 6,126,362 and 6,126,363, all
  8    for, inter alia, massage apparatus.
  9    Response No. 74:
 10             TJX lacks knowledge or information sufficient to form a belief as to the
 11    allegations in Paragraph 74 and therefore denies them.
 12
 13    Allegation No. 75:           Defendants, without Therabody’s permission or consent,
 14    have used and are continuing to use, marks that are confusingly similar to the
 15    Trademarks, namely, TRAKK PRO and TRAKK ELITE, in connection with the
 16    advertising, promotion, sale, and offer for sale of percussive massage devices,
 17    including products that bear trade dress that is virtually identical to Therabody’s
 18    Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress and are virtual
 19    copies of Therabody’s patented products.
 20    Response No. 75:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 75. With
 22    respect to any other defendant, TJX lacks knowledge or information sufficient to
 23    form a belief as to the allegations in Paragraph 75 and therefore denies them.
 24
 25    Allegation No. 76:           Defendants’ use of TRAKK PRO and TRAKK ELITE
 26    marks on percussive massage devices is likely to deceive or to cause confusion, or
 27    reverse confusion, or to cause mistake among consumers as to source, origin,
 28    sponsorship, affiliation, approval, and/or association. Consumer confusion is
                                                    29
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  1    exacerbated by (1) Defendants’ adoption of not one but two infringing marks –
  2    just as Plaintiff’s product line includes products designated as THERAGUN PRO
  3    and THERAGUN ELITE, Defendants competing product line includes products
  4    designated as TRAKK PRO and TRAKK ELITE; and (2) Defendants’ use of its
  5    marks on products that bear trade dress that is virtually identical to Therabody’s
  6    Triangle Trade Dress, Key Trade Dress, and PRO Trade Dress and are virtual
  7    copies of Therabody’s patented products.
  8    Response No. 76:
  9             With respect to TJX itself, TJX denies the allegations in Paragraph 76. With
 10    respect to any other defendant, TJX lacks knowledge or information sufficient to
 11    form a belief as to the allegations in Paragraph 76 and therefore denies them.
 12
 13    Allegation No. 77:           Defendants’ conduct described herein was knowing,
 14    willful, intentional, deliberate, and in total disregard of Therabody’s rights. The
 15    knowing and intentional nature of the acts set forth herein renders this an
 16    exceptional case under 15 U.S.C. § 1117(a).
 17    Response No. 77:
 18             With respect to TJX itself, TJX denies the allegations in Paragraph 77. With
 19    respect to any other defendant, TJX lacks knowledge or information sufficient to
 20    form a belief as to the allegations in Paragraph 77 and therefore denies them.
 21
 22    Allegation No. 78:           As a direct and proximate cause of Defendants’ unlawful,
 23    intentional and willful conduct, Therabody has been and will continue to be
 24    irreparably harmed unless Defendants are temporarily, preliminarily, and
 25    permanently enjoined from such unlawful conduct.
 26    Response No. 78:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 78. With
 28    respect to any other defendant, TJX lacks knowledge or information sufficient to
                                                    30
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  1    form a belief as to the allegations in Paragraph 78 and therefore denies them.
  2
  3    Allegation No. 79:           Therabody has no adequate remedy at law. Unless
  4    enjoined, Defendants will continue their unlawful, intentional, and willful
  5    conduct.
  6    Response No. 79:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 79. With
  8    respect to any other defendant, TJX lacks knowledge or information sufficient to
  9    form a belief as to the allegations in Paragraph 79 and therefore denies them.
 10
 11    Allegation No. 80:           In light of the foregoing, Therabody is entitled to a
 12    permanent injunction prohibiting Defendants from using TRAKK PRO and
 13    TRAKK ELITE, and any name, service mark, or logo confusingly similar to the
 14    federally registered Trademarks, including PRO and ELITE, and to recover from
 15    Defendants all damages that Therabody has sustained and will sustain, and all
 16    gains, profits, and advantages obtained by Defendants as a result of the infringing
 17    acts alleged above, in an amount not yet known, as well as the costs of this action
 18    pursuant to 15 U.S.C. § 1117(a).
 19    Response No. 80:
 20             With respect to TJX itself, TJX denies the allegations in Paragraph 80. With
 21    respect to any other defendant, TJX lacks knowledge or information sufficient to
 22    form a belief as to the allegations in Paragraph 80 and therefore denies them.
 23
 24    Allegation No. 81:           Given Defendants’ willful acts, this is an exceptional case
 25    and, pursuant to 15 U.S.C. § 1117(a), Therabody is further entitled to three times
 26    the amount of the above profits or damages, whichever is greater, and their
 27    attorneys’ fees.
 28
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  1    Response No. 81:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 81. With
  3    respect to any other defendant, TJX lacks knowledge or information sufficient to
  4    form a belief as to the allegations in Paragraph 81 and therefore denies them.
  5
  6                                SECOND CAUSE OF ACTION
  7                         False Designation of Origin, 15. U.S.C. § 1125(a)
  8                                     (Against All Defendants)
  9    Allegation No. 82:           Therabody realleges and incorporates by reference all
 10    foregoing paragraphs as if fully set forth herein
 11    Response No. 82:
 12             TJX realleges and incorporates by reference all foregoing paragraphs as if
 13    fully set forth herein.
 14
 15    Allegation No. 83:           Therabody uses its Triangle Trade Dress, Key Trade
 16    Dress, and PRO Trade Dress (collectively, the “Therabody Trade Dress”) in
 17    commerce on and in connection with its percussive massage device, accessories
 18    therefor, and the advertising and promotion of the same. The Therabody Trade
 19    Dress, described above, is comprised of distinctive features which are protected
 20    under Lanham Act § 43(a). The Therabody Trade Dress is either inherently
 21    distinctive or, as a result of its use, has acquired secondary meaning whereby the
 22    relevant consuming public and the trade associate these features with a single
 23    source.
 24    Response No. 83:
 25             TJX denies the allegations in Paragraph 83.
 26
 27    Allegation No. 84:           As described above and shown below, Defendants have
 28    used in commerce trade dress that is confusingly similar to the unique and
                                                    32
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  1    protectable Therabody Trade Dress (hereinafter the “Infringing Trade Dress”), on
  2    and in connection with their sale of the percussive massage device and accessories
  3    therefor. The Infringing Trade Dress includes each element of the Triangle Trade
  4    Dress, each element of the Key Trade Dress, and each element of the PRO Trade
  5    Dress. As described above, the potential for confusion is amplified by the use of
  6    the Infringing Trade Dress in connection with products that, in whole or in part,
  7    are copies or knockoffs of Therabody’s own products, as well as by Defendants’
  8    adoption of the product names TRAKK PRO and TRAKK ELITE, which are
  9    virtually the same Therabody’s own product names THERAGUN G3PRO,
 10    THERAGUN PRO, and THERAGUN ELITE.
 11    Response No. 84:
 12             With respect to TJX itself, TJX denies the allegations in Paragraph 84. With
 13    respect to any other defendant, TJX lacks knowledge or information sufficient to
 14    form a belief as to the allegations in Paragraph 84 and therefore denies them.
 15
 16    Allegation No. 85:           Defendants’ conduct alleged herein constitutes a false
 17    designation of origin and/or a false or misleading description and/or representation
 18    of fact, which is likely to deceive or to cause confusion or reverse confusion or
 19    mistake among consumers as to the origin, sponsorship, or approval of the
 20    Defendants’ goods and services and/or deceive or to cause confusion or mistake
 21    among consumers as to the affiliation, connection, or association between
 22    Defendants and Therabody.
 23    Response No. 85:
 24             With respect to TJX itself, TJX denies the allegations in Paragraph 85. With
 25    respect to any other defendant, TJX lacks knowledge or information sufficient to
 26    form a belief as to the allegations in Paragraph 85 and therefore denies them.
 27
 28
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  1    Allegation No. 86:           Defendants’ conduct described herein was knowing,
  2    willful, intentional, deliberate, and in total disregard of Therabody’s rights. The
  3    knowing and intentional nature of the acts set forth herein renders this an
  4    exceptional case under 15 U.S.C. § 1117(a).
  5    Response No. 86:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 86. With
  7    respect to any other defendant, TJX lacks knowledge or information sufficient to
  8    form a belief as to the allegations in Paragraph 86 and therefore denies them.
  9
 10    Allegation No. 87:           As a direct and proximate cause of Defendants’ unlawful,
 11    intentional, and willful conduct, Therabody has been and will continue to be
 12    irreparably harmed unless Defendants are permanently enjoined from such
 13    unlawful conduct. Therabody has no adequate remedy at law. Unless enjoined,
 14    Defendants will continue to mislead and confuse consumers as to the origin,
 15    sponsorship, or approval of Defendants’ goods and services and/or deceive or
 16    cause confusion or mistake among consumers as to the affiliation, connection, or
 17    association between Defendants and Therabody.
 18    Response No. 87:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 87. With
 20    respect to any other defendant, TJX lacks knowledge or information sufficient to
 21    form a belief as to the allegations in Paragraph 87 and therefore denies them.
 22
 23    Allegation No. 88:           In light of the foregoing, Therabody is entitled to a
 24    permanent injunction prohibiting Defendants from using the Infringing Trade
 25    Dress, and any marks or trade dress confusingly similar to any of the Therabody
 26    Trade Dress, and to recover from Defendants all damages that Therabody has
 27    sustained and will sustain, and all gains, profits, and advantages obtained by
 28
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  1    Defendants as a result of their infringing acts alleged above, in an amount not yet
  2    known, and the costs of this action pursuant to 15 U.S.C. § 1117(a).
  3    Response No. 88:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 88. With
  5    respect to any other defendant, TJX lacks knowledge or information sufficient to
  6    form a belief as to the allegations in Paragraph 88 and therefore denies them.
  7
  8    Allegation No. 89:           Pursuant to 15 U.S.C. § 1118, Plaintiff is entitled to, and
  9    hereby seeks, an order for the destruction of all materials bearing the Infringing
 10    Trade Dress, or any other trade dress confusingly similar to any of the Therabody
 11    Trade Dress.
 12    Response No. 89:
 13             With respect to TJX itself, TJX denies the allegations in Paragraph 89. With
 14    respect to any other defendant, TJX lacks knowledge or information sufficient to
 15    form a belief as to the allegations in Paragraph 89 and therefore denies them.
 16
 17    Allegation No. 90:           Given Defendants’ willful acts, this is an exceptional case
 18    and, pursuant to 15 U.S.C. § 1117(a), Therabody is further entitled to three times
 19    the amount of the above profits or damages, whichever is greater, and their
 20    attorneys’ fees.
 21    Response No. 90:
 22             With respect to TJX itself, TJX denies the allegations in Paragraph 90. With
 23    respect to any other defendant, TJX lacks knowledge or information sufficient to
 24    form a belief as to the allegations in Paragraph 90 and therefore denies them.
 25
 26                                 THIRD CAUSE OF ACTION
 27                         Federal Unfair Competition, 15. U.S.C. § 1125(a)
 28                                     (Against All Defendants)
                                                    35
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  1    Allegation No. 91:           Therabody realleges and incorporates by reference all
  2    foregoing paragraphs as if fully set forth herein.
  3    Response No. 91:
  4             TJX realleges and incorporates by reference all foregoing paragraphs as if
  5    fully set forth herein.
  6
  7    Allegation No. 92:           Defendants have deliberately and willfully attempted to
  8    capitalize on Therabody’s goodwill and reputation established in connection with
  9    the Trademarks and the Therabody Trade Dress by misleading, confusing, or
 10    deceiving consumers as to source, source, origin, affiliation, approval,
 11    sponsorship, and/or association, including by using TRAKK PRO and TRAKK
 12    ELITE and including by copying and using each element of the Triangle Trade
 13    Dress, each element of the Key Trade Dress, and each element of the PRO Trade
 14    Dress through the advertising and sale of the First, Second and Third Infringing
 15    Products.
 16    Response No. 92:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 92. With
 18    respect to any other defendant, TJX lacks knowledge or information sufficient to
 19    form a belief as to the allegations in Paragraph 92 and therefore denies them.
 20
 21    Allegation No. 93:           Defendants have engaged in, and continue to engage in,
 22    their unlawful, intentional, and willful conduct without Therabody’s permission or
 23    consent.
 24    Response No. 93:
 25             With respect to TJX itself, TJX denies the allegations in Paragraph 93. With
 26    respect to any other defendant, TJX lacks knowledge or information sufficient to
 27    form a belief as to the allegations in Paragraph 93 and therefore denies them.
 28
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  1    Allegation No. 94:           As a direct and proximate cause of Defendants unlawful,
  2    intentional, and willful conduct, Therabody has been and will continue to be
  3    irreparably harmed unless Defendants are permanently enjoined from such
  4    unlawful conduct. Therabody has no adequate remedy at law. Unless enjoined,
  5    Defendants will continue their unlawful, intentional, and willful conduct.
  6    Response No. 94:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 94. With
  8    respect to any other defendant, TJX lacks knowledge or information sufficient to
  9    form a belief as to the allegations in Paragraph 94 and therefore denies them.
 10
 11    Allegation No. 95:           In light of the foregoing, Therabody is entitled to a
 12    permanent injunction prohibiting Defendants from using TRAKK PRO and
 13    TRAKK ELITE, the Infringing Trade Dress, and any marks or trade dress
 14    confusingly similar to any of Therabody’s Trademarks or any of the Therabody
 15    Trade Dress, including PRO and ELITE, and to recover from Defendants all
 16    damages that Therabody has sustained and will sustain, and all gains, profits, and
 17    advantages obtained by Defendants as a result of their infringing acts alleged
 18    above in an amount not yet known, and the costs of this action pursuant to 15
 19    U.S.C. § 1117(a).
 20    Response No. 95:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 95. With
 22    respect to any other defendant, TJX lacks knowledge or information sufficient to
 23    form a belief as to the allegations in Paragraph 95 and therefore denies them.
 24
 25    Allegation No. 96:           Pursuant to 15 U.S.C. § 1118, Therabody is entitled to,
 26    and hereby seeks, an order for the destruction of all materials bearing any of the
 27    Trademarks, the Infringing Trade Dress, or any other trade dress confusingly
 28    similar to any of the Therabody Trade Dress.
                                                    37
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  1    Response No. 96:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 96. With
  3    respect to any other defendant, TJX lacks knowledge or information sufficient to
  4    form a belief as to the allegations in Paragraph 96 and therefore denies them.
  5
  6    Allegation No. 97:           Given Defendants’ willful acts, this is an exceptional case
  7    and, pursuant to 15 U.S.C. § 1117(a), Therabody is further entitled to three times
  8    the amount of the above profits or damages, whichever is greater, and their
  9    attorneys’ fees.
 10    Response No. 97:
 11             With respect to TJX itself, TJX denies the allegations in Paragraph 97. With
 12    respect to any other defendant, TJX lacks knowledge or information sufficient to
 13    form a belief as to the allegations in Paragraph 96 and therefore denies them.
 14
 15                                FOURTH CAUSE OF ACTION
 16                      Common Law Trademark and Trade Dress Infringement
 17                                     (Against All Defendants)
 18    Allegation No. 98:           Therabody realleges and incorporates by reference all
 19    foregoing paragraphs as if fully set forth herein.
 20    Response No. 98:
 21             TJX realleges and incorporates by reference all foregoing paragraphs as if
 22    fully set forth herein.
 23
 24    Allegation No. 99:           Defendants’ acts, described herein, constitute common
 25    law trade dress and trademark infringement and unfair competition under state law
 26    Response No. 99:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 99. With
 28    respect to any other defendant, TJX lacks knowledge or information sufficient to
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  1    form a belief as to the allegations in Paragraph 99 and therefore denies them.
  2
  3    Allegation No. 100:          Therabody has been damaged and will continue to be
  4    damaged by Defendants’ infringing activities.
  5    Response No. 100:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 100.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 100 and therefore
  9    denies them.
 10
 11    Allegation No. 101:          Therabody has no adequate remedy at law and is entitled
 12    to an injunction prohibiting Defendants from continuing the infringing practices
 13    described herein, and a recall order directed to the infringing items in the
 14    marketplace
 15    Response No. 101:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 101.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 101 and therefore
 19    denies them.
 20
 21    Allegation No. 102:          Therabody is also entitled to an award of any profits and
 22    damages arising from Defendants’ wrongful use of any of Therabody’s
 23    Trademarks and/or any of the Therabody Trade Dress.
 24    Response No. 102:
 25             With respect to TJX itself, TJX denies the allegations in Paragraph 102.
 26    With respect to any other defendant, TJX lacks knowledge or information
 27    sufficient to form a belief as to the allegations in Paragraph 102 and therefore
 28    denies them.
                                                    39
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  1    Allegation No. 103:          Therabody is informed and believes, on that basis alleges,
  2    that Defendants conduct was willful, wanton, malicious, and in conscious
  3    disregard of Therabody’s rights, thereby justifying an award of punitive and/or
  4    exemplary damages in an amount according to proof at trial.
  5    Response No. 103:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 103.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 103 and therefore
  9    denies them.
 10
 11                                  FIFTH CAUSE OF ACTION
 12                 Patent Infringement of the ’448 Patent, 35 U.S.C., §§ 101 et seq.
 13                                     (Against All Defendants)
 14    Allegation No. 104:          Therabody realleges and incorporates by reference all
 15    foregoing paragraphs as if fully set forth herein.
 16    Response No. 104:
 17             TJX realleges and incorporates by reference all foregoing paragraphs as if
 18    fully set forth herein.
 19
 20    Allegation No. 105:          At all times herein mentioned the ‘448 Patent was and is
 21    valid and fully enforceable.
 22    Response No. 105:
 23             TJX denies the allegations in Paragraph 105.
 24
 25    Allegation No. 106:          Defendants are offering percussive massage devices that
 26    infringe at least claim 8 of the ‘448 Patent, including at least the First and Third
 27    Infringing Products.
 28
                                                    40
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  1    Response No. 106:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 106.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 106 and therefore
  5    denies them.
  6
  7    Allegation No. 107:          Defendants’ Infringing Products are percussive massage
  8    devices.
  9    Response No. 107:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 107.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 107 and therefore
 13    denies them.
 14
 15    Allegation No. 108:          As shown below, Defendants’ First and Third Infringing
 16    Products include a housing, wherein the housing includes first, second and third
 17    handle portions that cooperate to define a handle opening. The Third Infringing
 18    Product has the same features shown below for the First Infringing Product.
 19    Response No. 108:
 20             With respect to TJX itself, TJX denies the allegations in Paragraph 108.
 21    With respect to any other defendant, TJX lacks knowledge or information
 22    sufficient to form a belief as to the allegations in Paragraph 108 and therefore
 23    denies them.
 24
 25    Allegation No. 109:          As shown above, Defendants’ First and Third Infringing
 26    Products include a first handle portion that defines a first axis, a second handle
 27    portion defines a second axis and a third handle portion defines a third axis, and
 28    wherein the first, second and third axes cooperate to form a triangle. The Third
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  1    Infringing Product has these same features shown above for the First Infringing
  2    Product.
  3    Response No. 109:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 109.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 109 and therefore
  7    denies them.
  8
  9    Allegation No. 110:          As shown above, the First and Third Infringing Products
 10    include that the first handle portion is generally straight, the second handle portion
 11    is generally straight, and that the third handle portion is generally straight, such
 12    that a user can grasp any of the first, second or third handle portions
 13    independently to use the percussive massage device. The Third Infringing
 14    Product has these same features shown above for the First Infringing Product.
 15    Response No. 110:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 110.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 110 and therefore
 19    denies them.
 20
 21    Allegation No. 111:          The First and Third Infringing Products include an
 22    electrical source, a motor positioned in the housing, a switch for activating the
 23    motor, and a push rod assembly operatively connected to the motor and
 24    configured to reciprocate in response to activation of the motor.
 25    Response No. 111:
 26             With respect to TJX itself, TJX denies the allegations in Paragraph 111.
 27    With respect to any other defendant, TJX lacks knowledge or information
 28    sufficient to form a belief as to the allegations in Paragraph 111 and therefore
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  1    denies them.
  2
  3    Allegation No. 112:          The First and Third Infringing Products include switch
  4    electronics associated with the switch, the electrical source is a battery that is
  5    housed in the second handle portion, and the switch electronics are housed in the
  6    first handle portion.
  7    Response No. 112:
  8             With respect to TJX itself, TJX denies the allegations in Paragraph 112.
  9    With respect to any other defendant, TJX lacks knowledge or information
 10    sufficient to form a belief as to the allegations in Paragraph 112 and therefore
 11    denies them.
 12
 13    Allegation No. 113:          On information and belief, at least since Plaintiff’s
 14    August 11, 2021 letter, Defendants have knowingly and actively induced the
 15    infringement of one or more of the ’448 Patent claims by, inter alia, marketing,
 16    promoting, and offering for use the Infringing Products, knowingly and intending
 17    that the use of the Infringing Products by Defendants’ customers and by users
 18    infringes the ’448 Patent. For example, Defendants intend to induce such
 19    infringement by, among other things, promoting users to purchase and use the
 20    Infringing Products knowing that their purchase and use infringes one or more
 21    claims of the ’448 Patent.
 22    Response No. 113:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 113.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 113 and therefore
 26    denies them.
 27
 28
                                                    43
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  1    Allegation No. 114:          On information and belief, at least since Plaintiff’s
  2    August 11, 2021 letter, Defendants have contributed to the infringement of the
  3    ’448 Patent by their customers and users of the Infringing Products by, inter alia,
  4    making, offering to sell, selling and/or importing into the United States, a
  5    component of a patented machine, manufacture or combination, or an apparatus
  6    for use in practicing a patented process, constituting a material part of the
  7    invention, knowing the same to be especially made or especially adapted for use
  8    in infringing the ’448 Patent. The Infringing Products are not a staple article or
  9    commodity of commerce suitable for substantial non-infringing use and is known
 10    by Defendants to be especially made or especially adapted to the infringe the ’448
 11    Patent. As a result, Defendants’ Infringing Products have been used by its
 12    customers and by users to infringe the ’448 Patent. Defendants continue to engage
 13    in acts of contributory infringement of the ’448 Patent even after receiving notice
 14    of its contributory infringement.
 15    Response No. 114:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 114.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 114 and therefore
 19    denies them.
 20
 21    Allegation No. 115:          Defendants infringe literally or under the doctrine of
 22    equivalents, or both.
 23    Response No. 115:
 24             With respect to TJX itself, TJX denies the allegations in Paragraph 115.
 25    With respect to any other defendant, TJX lacks knowledge or information
 26    sufficient to form a belief as to the allegations in Paragraph 115 and therefore
 27    denies them.
 28
                                                    44
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  1    Allegation No. 116:          At no time has Therabody granted Defendants
  2    authorization, license, or permission to utilize the inventions claimed in the ’448
  3    Patent.
  4    Response No. 116:
  5             With respect to TJX itself, TJX admits that to date Therabody has not
  6    granted it an express license to the ‘448 Patent. With respect to any other
  7    defendant, TJX lacks knowledge or information sufficient to form a belief as to
  8    the allegations in Paragraph 116 and therefore denies them.
  9
 10    Allegation No. 117:          Therabody has been damaged by Defendants’ acts of
 11    infringement of the ’448 Patent and Therabody will continue to be damaged by
 12    such infringement unless enjoined by this Court. Therabody is entitled to recover
 13    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 14    Response No. 117:
 15             With respect to TJX itself, TJX denies the allegations in Paragraph 117.
 16    With respect to any other defendant, TJX lacks knowledge or information
 17    sufficient to form a belief as to the allegations in Paragraph 117 and therefore
 18    denies them.
 19
 20    Allegation No. 118:          Therabody is, and has been, irreparably harmed by
 21    Defendants’ on-going infringement including the following harm which cannot be
 22    quantified or recouped through monetary damages: (1) lost market share that will
 23    be difficult, if not impossible, to recoup later as the Infringing Products become
 24    entrenched with retail sellers and trainers who recommend them to their clients,
 25    (2) loss of first mover advantage that Therabody enjoyed as the first company to
 26    offer its innovative percussive devices and patented attachments, (3) loss of
 27    Therabody’s investment in developing the market for percussive devices and its
 28    patented attachments, (4) negative effect on its reputation as innovator and
                                                    45
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  1    pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price
  2    erosion due to Defendants’ Infringing Products being sold at a price point lower
  3    than Therabody’s patented products, (7) diversion of resources to defend against
  4    loss of market share caused by sales of the Infringing Product, and (8)
  5    Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  6    infringing attachments that leads to additional irreparable harm described above.
  7    Response No. 118:
  8             With respect to TJX itself, TJX denies the allegations in Paragraph 118.
  9    With respect to any other defendant, TJX lacks knowledge or information
 10    sufficient to form a belief as to the allegations in Paragraph 118 and therefore
 11    denies them.
 12
 13    Allegation No. 119:          Defendants’ acts of infringement, including continuing
 14    the infringing activities after receiving notice of Defendants’ direct and indirect
 15    infringement, have been, and continue to be, willful and deliberate and therefore
 16    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 17    enhanced damages pursuant to 35 U.S.C. § 284.
 18    Response No. 119:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 119.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 119 and therefore
 22    denies them.
 23
 24                                  SIXTH CAUSE OF ACTION
 25                 Patent Infringement of the ’064 Patent, 35 U.S.C., §§ 101 et seq.
 26                                     (Against All Defendants)
 27    Allegation No. 120:          Therabody realleges and incorporates by reference all
 28    foregoing paragraphs as if fully set forth herein.
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  1    Response No. 120:
  2             TJX realleges and incorporates by reference all foregoing paragraphs as if
  3    fully set forth herein.
  4
  5    Allegation No. 121:          At all times herein mentioned the ’064 Patent was and is
  6    valid and fully enforceable.
  7    Response No. 121:
  8             TJX denies the allegations in Paragraph 121.
  9
 10    Allegation No. 122:          Defendants are offering percussive massage devices that
 11    infringe at least claim 11 of the ’064 Patent, including at least the First and Third
 12    Infringing Products.
 13    Response No. 122:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 122.
 15    With respect to any other defendant, TJX lacks knowledge or information
 16    sufficient to form a belief as to the allegations in Paragraph 122 and therefore
 17    denies them.
 18
 19    Allegation No. 123:          The Infringing Products are percussive massage devices.
 20    Response No. 123:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 123.
 22    With respect to any other defendant, TJX lacks knowledge or information
 23    sufficient to form a belief as to the allegations in Paragraph 123 and therefore
 24    denies them.
 25
 26    Allegation No. 124:          As shown below, the First and Third Infringing Products
 27    include a housing, wherein the housing includes first, second and third handle
 28    portions and a head portion that cooperate to define a handle opening, wherein the
                                                    47
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  1    first handle portion defines a first axis, the second handle portion defines a second
  2    axis and the third handle portion defines a third axis, wherein the first, second and
  3    third axes cooperate to form a triangle, such that a user can grasp any of the first,
  4    second or third handle portions independently to use the percussive therapy
  5    device. The Third Infringing Product has these same features shown below for the
  6    First Infringing Product.
  7    Response No. 124:
  8             With respect to TJX itself, TJX denies the allegations in Paragraph 124.
  9    With respect to any other defendant, TJX lacks knowledge or information
 10    sufficient to form a belief as to the allegations in Paragraph 124 and therefore
 11    denies them.
 12
 13    Allegation No. 125:          The First and Third Infringing Products include an
 14    electrical source, a motor positioned in the head portion of the housing, a switch
 15    for activating the motor, and a push rod assembly operatively connected to the
 16    motor and configured to reciprocate in response to activation of the motor.
 17    Response No. 125:
 18             With respect to TJX itself, TJX denies the allegations in Paragraph 125.
 19    With respect to any other defendant, TJX lacks knowledge or information
 20    sufficient to form a belief as to the allegations in Paragraph 125 and therefore
 21    denies them.
 22
 23    Allegation No. 126:          As shown below, the First and Third Infringing Products
 24    include a first handle portion interior edge and defines a first handle portion
 25    length, wherein the first handle portion length is long enough that when a user
 26    grasps the first handle portion with a hand at least a portion of three fingers extend
 27    through the handle opening and contact the first handle portion interior edge,
 28    wherein the second handle portion includes a second handle portion interior edge
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  1    and defines a second handle portion length, wherein the second handle portion
  2    length is long enough that when a user grasps the second handle portion with a
  3    hand at least a portion of three fingers extend through the handle opening and
  4    contact the second handle portion interior edge, wherein the third handle portion
  5    includes a third handle portion interior edge and defines a third handle portion
  6    length, wherein the third handle portion length is long enough that when a user
  7    grasps the third handle portion with a hand at least a portion of three fingers
  8    extend through the handle opening and contact the third handle portion interior
  9    edge. The Third Infringing Product has these same features shown below for the
 10    First Infringing Product.
 11    Response No. 126:
 12             With respect to TJX itself, TJX denies the allegations in Paragraph 126.
 13    With respect to any other defendant, TJX lacks knowledge or information
 14    sufficient to form a belief as to the allegations in Paragraph 126 and therefore
 15    denies them.
 16
 17    Allegation No. 127:          The First and Third Infringing Products include at least
 18    two of the first handle portion, second handle portion and third handle portion are
 19    generally straight.
 20    Response No. 127:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 127.
 22    With respect to any other defendant, TJX lacks knowledge or information
 23    sufficient to form a belief as to the allegations in Paragraph 127 and therefore
 24    denies them.
 25
 26    Allegation No. 128:          The First and Third Infringing Products a fourth interior
 27    surface that at least partially defines the handle opening, wherein the first handle
 28    portion interior surface, second handle portion interior surface, third handle
                                                    49
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  1    portion interior surface and fourth interior surface cooperate to define a
  2    quadrilateral.
  3    Response No. 128:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 128.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 128 and therefore
  7    denies them.
  8
  9    Allegation No. 129:          Defendants’ infringe literally or under the doctrine of
 10    equivalents, or both.
 11    Response No. 129:
 12             With respect to TJX itself, TJX denies the allegations in Paragraph 129.
 13    With respect to any other defendant, TJX lacks knowledge or information
 14    sufficient to form a belief as to the allegations in Paragraph 129 and therefore
 15    denies them.
 16
 17    Allegation No. 130:          On information and belief, at least since Plaintiff’s
 18    August 11, 2021 letter, Defendants have knowingly and actively induced the
 19    infringement of one or more of the ’064 Patent claims by, inter alia, marketing,
 20    promoting, and offering for use the Infringing Products, knowingly and intending
 21    that the use of the Infringing Products by Defendants’ customers and by users
 22    infringes the ’064 Patent. For example, Defendants intend to induce such
 23    infringement by, among other things, promoting users to purchase and use the
 24    Infringing Products knowing that their purchase and use infringes one or more
 25    claims of the ’064 Patent.
 26    Response No. 130:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 130.
 28    With respect to any other defendant, TJX lacks knowledge or information
                                                    50
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  1    sufficient to form a belief as to the allegations in Paragraph 130 and therefore
  2    denies them.
  3
  4    Allegation No. 131:          On information and belief, at least since Plaintiff’s
  5    August 11, 2021 letter, Defendants have contributed to the infringement of the
  6    ’064 Patent by their customers and users of the Infringing Products by, inter alia,
  7    making, offering to sell, selling and/or importing into the United States, a
  8    component of a patented machine, manufacture or combination, or an apparatus
  9    for use in practicing a patented process, constituting a material part of the
 10    invention, knowing the same to be especially made or especially adapted for use
 11    in infringing the ’064 Patent. The Infringing Products are not a staple article or
 12    commodity of commerce suitable for substantial non-infringing use and is known
 13    by Defendants to be especially made or especially adapted to the infringe the ’064
 14    Patent. As a result, Defendants’ Infringing Products have been used by its
 15    customers and by users to infringe the ’064 Patent. Defendants continue to engage
 16    in acts of contributory infringement of the ‘064 Patent even after receiving notice
 17    of its contributory infringement.
 18    Response No. 131:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 131.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 131 and therefore
 22    denies them.
 23
 24    Allegation No. 132:          At no time has Therabody granted Defendants
 25    authorization, license, or permission to utilize the design claimed in the ‘064
 26    Patent.
 27    Response No. 132:
 28             With respect to TJX itself, TJX admits that to date Therabody has not
                                                    51
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  1    granted it an express license to the ‘064 Patent. With respect to any other
  2    defendant, TJX lacks knowledge or information sufficient to form a belief as to
  3    the allegations in Paragraph 132 and therefore denies them.
  4
  5    Allegation No. 133:          Therabody has been damaged by Defendants’ acts of
  6    infringement of the ‘064 Patent and Therabody will continue to be damaged by
  7    such infringement unless enjoined by this Court. Therabody is entitled to recover
  8    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
  9    Response No. 133:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 133.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 133 and therefore
 13    denies them.
 14
 15    Allegation No. 134:          Therabody is, and has been, irreparably harmed by
 16    Defendants’ on-going infringement including the following harm which cannot be
 17    quantified or recouped through monetary damages: (1) lost market share that will
 18    be difficult, if not impossible, to recoup later as the Infringing Products become
 19    entrenched with retail sellers and trainers who recommend them to their clients,
 20    (2) loss of first mover advantage that Therabody enjoyed as the first company to
 21    offer its innovative and patented percussive devices, (3) loss of Therabody’s
 22    investment in developing the market for percussive devices, (4) negative effect on
 23    its reputation as innovator and pioneer, (5) the unquantifiable effect on lost sales
 24    of related products, (6) price erosion due to Defendants’ Infringing Products being
 25    sold at a price point lower than Therabody’s patented products, (7) diversion of
 26    resources to defend against loss of market share caused by sales of the Infringing
 27    Products, and (8) Defendants’ unauthorized sales that are enticing others to offer
 28
                                                    52
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  1    for sale and sell infringing attachments that leads to additional irreparable harm
  2    described above.
  3    Response No. 134:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 134.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 134 and therefore
  7    denies them.
  8
  9    Allegation No. 135:          Defendants’ acts of infringement have been, and continue
 10    to be, willful and deliberate and therefore warrant the award of attorneys’ fees
 11    pursuant to 35 U.S.C. § 285 and the award of enhanced damages pursuant to 35
 12    U.S.C. § 284.
 13    Response No. 135:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 135.
 15    With respect to any other defendant, TJX lacks knowledge or information
 16    sufficient to form a belief as to the allegations in Paragraph 135 and therefore
 17    denies them.
 18
 19                                SEVENTH CAUSE OF ACTION
 20                 Patent Infringement of the ’722 Patent, 35 U.S.C., §§ 101 et seq.
 21                                     (Against All Defendants)
 22    Allegation No. 136:          Therabody realleges and incorporates by reference all
 23    foregoing paragraphs as if fully set forth herein.
 24    Response No. 136:
 25             TJX realleges and incorporates by reference all foregoing paragraphs as if
 26    fully set forth herein.
 27
 28
                                                    53
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  1    Allegation No. 137:          At all times herein mentioned the ’722 Patent was and is
  2    valid and fully enforceable.
  3    Response No. 137:
  4             TJX denies the allegations in Paragraph 137.
  5
  6    Allegation No. 138:          Defendants are offering percussive massage devices that
  7    infringe at least claim 18 of the ’722 Patent, including at least the First and Third
  8    Infringing Products.
  9    Response No. 138:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 138.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 138 and therefore
 13    denies them.
 14
 15    Allegation No. 139:          The Infringing Products are percussive massage devices.
 16    Response No. 139:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 139.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 139 and therefore
 20    denies them.
 21
 22    Allegation No. 140:          As shown below, the First and Third Infringing Products
 23    include a housing, wherein the housing includes first, second and third handle
 24    portions that cooperate to at least partially define a handle opening, wherein the
 25    first handle portion includes a first handle portion interior edge, wherein the
 26    second handle portion includes a second handle portion interior edge, wherein the
 27    third handle portion includes a third handle portion interior edge, wherein the first
 28    handle portion interior edge defines a first handle portion interior edge extended,
                                                    54
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  1    wherein the second handle portion interior edge defines a second handle portion
  2    interior edge extended, wherein the third handle portion interior edge defines a
  3    third handle portion interior edge extended, wherein the first, second and third
  4    interior edges extended cooperate to define a triangle that surrounds the handle
  5    opening, such that a user can grasp any of the first, second or third handle portions
  6    independently to use the percussive massage device. The Third Infringing
  7    Product has these same features shown below for the First Infringing Product.
  8    Response No. 140:
  9             With respect to TJX itself, TJX denies the allegations in Paragraph 140.
 10    With respect to any other defendant, TJX lacks knowledge or information
 11    sufficient to form a belief as to the allegations in Paragraph 140 and therefore
 12    denies them.
 13
 14    Allegation No. 141:          The First and Third Infringing Products include an
 15    electrical source, a motor positioned in the housing, a switch for activating the
 16    motor, and a push rod assembly operatively connected to the motor and
 17    configured to reciprocate in response to activation of the motor.
 18    Response No. 141:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 141.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 141 and therefore
 22    denies them.
 23
 24    Allegation No. 142:          As shown above, the First and Third Infringing Products
 25    include a housing with a head portion that at least partially defines the handle
 26    opening, wherein the head portion defines a head portion interior edge that is
 27    generally straight.
 28
                                                    55
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  1    Response No. 142:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 142.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 142 and therefore
  5    denies them.
  6
  7    Allegation No. 143:          Defendants’ infringe literally or under the doctrine of
  8    equivalents, or both.
  9    Response No. 143:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 143.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 143 and therefore
 13    denies them.
 14
 15    Allegation No. 144:          On information and belief, at least since the filing of the
 16    complaint, Defendants have knowingly and actively induced the infringement of
 17    one or more of the ’722 Patent claims by, inter alia, marketing, promoting, and
 18    offering for use the Infringing Products, knowingly and intending that the use of
 19    the Infringing Products by Defendants’ customers and by users infringes the ’722
 20    Patent. For example, Defendants intend to induce such infringement by, among
 21    other things, promoting users to purchase and use the Infringing Product knowing
 22    that its purchase and use infringes one or more claims of the ’722 Patent.
 23    Response No. 144:
 24             With respect to TJX itself, TJX denies the allegations in Paragraph 144.
 25    With respect to any other defendant, TJX lacks knowledge or information
 26    sufficient to form a belief as to the allegations in Paragraph 144 and therefore
 27    denies them.
 28
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  1    Allegation No. 145:          On information and belief, at least since the filing of the
  2    complaint, Defendants have contributed to the infringement of the ’722 Patent by
  3    their customers and users of the Infringing Products by, inter alia, making,
  4    offering to sell, selling and/or importing into the United States, a component of a
  5    patented machine, manufacture or combination, or an apparatus for use in
  6    practicing a patented process, constituting a material part of the invention,
  7    knowing the same to be especially made or especially adapted for use in infringing
  8    the ’722 Patent. The Infringing Products are not a staple article or commodity of
  9    commerce suitable for substantial non-infringing use and is known by Defendants
 10    to be especially made or especially adapted to the infringe the ’722 Patent. As a
 11    result, Defendants’ Infringing Products have been used by its customers and by
 12    users to infringe the ’722 Patent. Defendants continue to engage in acts of
 13    contributory infringement of the ’722 Patent even after receiving notice of its
 14    contributory infringement.
 15    Response No. 145:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 145.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 145 and therefore
 19    denies them.
 20
 21    Allegation No. 146:          At no time has Therabody granted Defendants
 22    authorization, license, or permission to utilize the design claimed in the ’722
 23    Patent.
 24    Response No. 146:
 25             With respect to TJX itself, TJX admits that to date Therabody has not
 26    granted it an express license to the ‘722 Patent. With respect to any other
 27    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 28    the allegations in Paragraph 146 and therefore denies them.
                                                    57
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Allegation No. 147:          Therabody has been damaged by Defendants’ acts of
  2    infringement of the ’722 Patent and Therabody will continue to be damaged by
  3    such infringement unless enjoined by this Court. Therabody is entitled to recover
  4    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
  5    Response No. 147:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 147.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 147 and therefore
  9    denies them.
 10
 11    Allegation No. 148:          Therabody is, and has been, irreparably harmed by
 12    Defendants’ on-going infringement including the following harm which cannot be
 13    quantified or recouped through monetary damages: (1) lost market share that will
 14    be difficult, if not impossible, to recoup later as the Infringing Products become
 15    entrenched with retail sellers and trainers who recommend them to their clients,
 16    (2) loss of first mover advantage that Therabody enjoyed as the first company to
 17    offer its innovative and patented percussive devices, (3) loss of Therabody’s
 18    investment in developing the market for percussive devices, (4) negative effect on
 19    its reputation as innovator and pioneer, (5) the unquantifiable effect on lost sales
 20    of related products, (6) price erosion due to Defendants’ Infringing Products being
 21    sold at a price point lower than Therabody’s patented products, (7) diversion of
 22    resources to defend against loss of market share caused by sales of the Infringing
 23    Product, and (8) Defendants’ unauthorized sales that are enticing others to offer
 24    for sale and sell infringing attachments that leads to additional irreparable harm
 25    described above.
 26    Response No. 148:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 148.
 28    With respect to any other defendant, TJX lacks knowledge or information
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  1    sufficient to form a belief as to the allegations in Paragraph 148 and therefore
  2    denies them.
  3
  4    Allegation No. 149:          Defendants’ acts of infringement have been, and continue
  5    to be, willful and deliberate and therefore warrant the award of attorneys’ fees
  6    pursuant to 35 U.S.C. § 285 and the award of enhanced damages pursuant to 35
  7    U.S.C. § 284.
  8    Response No. 149:
  9             With respect to TJX itself, TJX denies the allegations in Paragraph 149.
 10    With respect to any other defendant, TJX lacks knowledge or information
 11    sufficient to form a belief as to the allegations in Paragraph 149 and therefore
 12    denies them.
 13
 14                                 EIGHTH CAUSE OF ACTION
 15                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
 16                                           ‘D714 Patent
 17                                     (Against All Defendants)
 18    Allegation No. 150:          Therabody realleges and incorporates by reference all
 19    foregoing paragraphs as if fully set forth herein.
 20    Response No. 150:
 21             TJX realleges and incorporates by reference all foregoing paragraphs as if
 22    fully set forth herein.
 23
 24    Allegation No. 151:          At all times herein mentioned the ‘D714 Patent was and
 25    is valid and fully enforceable.
 26    Response No. 151:
 27             TJX denies the allegations in Paragraph 151.
 28
                                                    59
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Allegation No. 152:          Defendants are offering percussive massage devices that
  2    infringe the ‘D714 Patent, including at least the First and Third Infringing
  3    Devices, as shown above. As shown below, a side by side comparison of FIG. 2 of
  4    Therabody’s ‘D714 Patent and Defendants’ First and Third Infringing Devices
  5    quickly reveals that the First and Third Infringing Devices appear substantially the
  6    same as Therabody’s ‘D714 Patent to an ordinary observer; the resemblance is
  7    such as to deceive such an observer, inducing him or her to purchase one
  8    supposing it to be the other. Among other things, an ordinary observer would
  9    conclude that the First and Third Infringing Devices have a number of the same,
 10    or very similar, features as the design patented in the ‘D714 Patent that contribute
 11    to an overall appearance that is substantially the same, including that both the
 12    patented design and First and Third Infringing Devices are (a) triangular shaped,
 13    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
 14    one another and the head portion), (c) have a rounded head portion, and (d)
 15    circular medallion on the rounded head portion:
 16    Response No. 152:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 152.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 152 and therefore
 20    denies them.
 21
 22    Allegation No. 153:          Defendants have and continue to directly infringe the
 23    ‘D714 Patent by making, using, offering for sale, selling and importing the First
 24    and Third Infringing Devices in conjunction with percussive massage devices
 25    competitive to Therabody.
 26    Response No. 153:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 153.
 28    With respect to any other defendant, TJX lacks knowledge or information
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  1    sufficient to form a belief as to the allegations in Paragraph 153 and therefore
  2    denies them.
  3
  4    Allegation No. 154:          Defendants’ infringement is based upon literal
  5    infringement or infringement under the doctrine of equivalents, or both.
  6    Response No. 154:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 154.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 154 and therefore
 10    denies them.
 11
 12    Allegation No. 155:          On information and belief, at least since Plaintiff’s
 13    August 11, 2021 letter, Defendants have knowingly and actively induced the
 14    infringement of one or more of the ‘D714 Patent claims by, inter alia, marketing,
 15    promoting, and offering for use the First and Third Infringing Devices, knowingly
 16    and intending that the use of the First and Third Infringing Devices by
 17    Defendants’ customers and by users infringes the ‘D714 Patent. For example,
 18    Defendants intend to induce such infringement by, among other things, promoting
 19    users to purchase and use the First and Third Infringing Device knowing that their
 20    purchase and use infringes one or more claims of the ‘D714 Patent.
 21    Response No. 155:
 22             With respect to TJX itself, TJX denies the allegations in Paragraph 155.
 23    With respect to any other defendant, TJX lacks knowledge or information
 24    sufficient to form a belief as to the allegations in Paragraph 155 and therefore
 25    denies them.
 26
 27    Allegation No. 156:          On information and belief, at least since Plaintiff’s
 28    August 11, 2021 letter, Defendants have contributed to the infringement of the
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  1    ‘D714 Patent by, inter alia, marketing and promoting the First and Third
  2    Infringing Devices to its customers and users. The First and Third Infringing
  3    Devices are not a staple article or commodity of commerce suitable for substantial
  4    non-infringing use and is known by Defendants to be especially made or
  5    especially adapted to the infringe the ‘D714 Patent. As a result, Defendants’ the
  6    First and Third Infringing Devices have been used by their customers and by users
  7    to infringe the ‘D714 Patent. Defendants continue to engage in acts of
  8    contributory infringement of the ‘D714 Patent even after receiving notice of their
  9    contributory infringement.
 10    Response No. 156:
 11             With respect to TJX itself, TJX denies the allegations in Paragraph 156.
 12    With respect to any other defendant, TJX lacks knowledge or information
 13    sufficient to form a belief as to the allegations in Paragraph 156 and therefore
 14    denies them.
 15
 16    Allegation No. 157:          At no time has Therabody granted Defendants
 17    authorization, license, or permission to utilize the design claimed in the ‘D714
 18    Patent.
 19    Response No. 157:
 20             With respect to TJX itself, TJX admits that to date Therabody has not
 21    granted it an express license to the ‘D714 Patent. With respect to any other
 22    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 23    the allegations in Paragraph 157 and therefore denies them.
 24
 25    Allegation No. 158:          Therabody has been damaged by Defendants’ acts of
 26    infringement of the ‘D714 Patent and Therabody will continue to be damaged by
 27    such infringement unless enjoined by this Court. Therabody is entitled to recover
 28    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
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  1    Response No. 158:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 158.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 158 and therefore
  5    denies them.
  6
  7    Allegation No. 159:          Therabody is, and has been, irreparably harmed by
  8    Defendants’ ongoing infringement including the following harm which cannot be
  9    quantified or recouped through monetary damages: (1) lost market share that will
 10    be difficult, if not impossible, to recoup later as the First and Third Infringing
 11    Devices become entrenched with retail sellers and trainers who recommend them
 12    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
 13    first company to offer its innovative percussive devices and patented attachments,
 14    (3) loss of Therabody’s investment in building up the market for percussive
 15    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 16    unquantifiable effect on lost sales of related products, (6) price erosion due to
 17    Defendants’ First and Third Infringing Devices being sold at a price point lower
 18    than Therabody’s patented product, (7) diversion of resources to defend against
 19    loss of market share caused by sales of the First and Third Infringing Devices, and
 20    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 21    infringing attachments that leads to additional irreparable harm described above.
 22    Response No. 159:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 159.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 159 and therefore
 26    denies them.
 27
 28
                                                    63
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  1    Allegation No. 160:          Defendants’ acts of infringement, including continuing
  2    the infringing activities after receiving notice of Defendants’ direct and indirect
  3    infringement, have been, and continue to be, willful and deliberate and therefore
  4    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
  5    enhanced damages pursuant to 35 U.S.C. § 284.
  6    Response No. 160:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 160.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 160 and therefore
 10    denies them.
 11
 12                                  NINTH CAUSE OF ACTION
 13                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
 14                                           ‘D717 Patent
 15                                     (Against All Defendants)
 16    Allegation No. 161:          Therabody realleges and incorporates by reference all
 17    foregoing paragraphs as if fully set forth herein.
 18    Response No. 161:
 19             TJX realleges and incorporates by reference all foregoing paragraphs as if
 20    fully set forth herein.
 21
 22    Allegation No. 162:          At all times herein mentioned the ‘D715 Patent was and
 23    is valid and fully enforceable.
 24    Response No. 162:
 25             TJX denies the allegations in Paragraph 162.
 26
 27    Allegation No. 163:          Defendants are offering percussive massage devices that
 28    infringe the ‘D715 Patent, including at least the First and Third Infringing
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  1    Devices, as shown above. As shown below, a side by side comparison of FIG. 2 of
  2    Therabody’s ‘D715 Patent and Defendants’ First and Third Infringing Devices
  3    quickly reveals that the First and Third Infringing Device appears substantially the
  4    same as Therabody’s ‘D715 Patent to an ordinary observer; the resemblance is
  5    such as to deceive such an observer, inducing him or her to purchase one
  6    supposing it to be the other. Among other things, an ordinary observer would
  7    conclude that the First and Third Infringing Devices have a number of the same,
  8    or very similar, features as the design patented in the ‘D715 Patent that contribute
  9    to an overall appearance that is substantially the same, including that both the
 10    patented design and First and Third Infringing Devices are (a) triangular shaped,
 11    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
 12    one another and the head portion), (c) have a rounded head portion, (d) circular
 13    medallion on the rounded head portion, and (e) a key-design extending from the
 14    rounded head portion along the third handle portion:
 15    Response No. 163:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 163.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 163 and therefore
 19    denies them.
 20
 21    Allegation No. 164:          Defendants have and continue to directly infringe the
 22    ‘D715 Patent by making, using, offering for sale, selling and importing the First
 23    and Third Infringing Devices in conjunction with percussive massage devices
 24    competitive to Therabody.
 25    Response No. 164:
 26             With respect to TJX itself, TJX denies the allegations in Paragraph 164.
 27    With respect to any other defendant, TJX lacks knowledge or information
 28    sufficient to form a belief as to the allegations in Paragraph 164 and therefore
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  1    denies them.
  2
  3    Allegation No. 165:          Defendants’ infringement is based upon literal
  4    infringement or infringement under the doctrine of equivalents, or both.
  5    Response No. 165:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 165.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 165 and therefore
  9    denies them.
 10
 11    Allegation No. 166:          On information and belief, at least since Plaintiff’s
 12    August 11, 2021 letter, Defendants have knowingly and actively induced the
 13    infringement of one or more of the ‘D715 Patent claims by, inter alia, marketing,
 14    promoting, and offering for use the First and Third Infringing Devices, knowingly
 15    and intending that the use of the First and Third Infringing Devices by
 16    Defendants’ customers and by users infringe the ‘D715 Patent. For example,
 17    Defendants intend to induce such infringement by, among other things, promoting
 18    users to purchase and use the First and Third Infringing Devices knowing that its
 19    purchase and use infringes one or more claims of the ‘D715 Patent.
 20    Response No. 166:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 166.
 22    With respect to any other defendant, TJX lacks knowledge or information
 23    sufficient to form a belief as to the allegations in Paragraph 166 and therefore
 24    denies them.
 25
 26    Allegation No. 167:          On information and belief, at least since Plaintiff’s
 27    August 11, 2021 letter, Defendants have contributed to the infringement of the
 28    ‘D715 Patent by, inter alia, marketing and promoting the First and Third
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  1    Infringing Devices to its customers and users. The First and Third Infringing
  2    Devices are not a staple article or commodity of commerce suitable for substantial
  3    non-infringing use and is known by Defendants to be especially made or
  4    especially adapted to the infringe the ‘D715 Patent. As a result, Defendants’ First
  5    and Third Infringing Devices have been used by their customers and by users to
  6    infringe the ‘D715 Patent. Defendants continue to engage in acts of contributory
  7    infringement of the ‘D715 Patent even after receiving notice of their contributory
  8    infringement.
  9    Response No. 167:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 167.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 167 and therefore
 13    denies them.
 14
 15    Allegation No. 168:          At no time has Therabody granted Defendants
 16    authorization, license, or permission to utilize the design claimed in the ‘D715
 17    Patent.
 18    Response No. 168:
 19             With respect to TJX itself, TJX admits that to date Therabody has not
 20    granted it an express license to the ‘D715 Patent. With respect to any other
 21    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 22    the allegations in Paragraph 168 and therefore denies them.
 23
 24    Allegation No. 169:          Therabody has been damaged by Defendants’ acts of
 25    infringement of the ‘D715 Patent and Therabody will continue to be damaged by
 26    such infringement unless enjoined by this Court. Therabody is entitled to recover
 27    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 28
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  1    Response No. 169:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 169.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 169 and therefore
  5    denies them.
  6
  7    Allegation No. 170:          Therabody is, and has been, irreparably harmed by
  8    Defendants’ ongoing infringement including the following harm which cannot be
  9    quantified or recouped through monetary damages: (1) lost market share that will
 10    be difficult, if not impossible, to recoup later as the First and Third Infringing
 11    Devices become entrenched with retail sellers and trainers who recommend them
 12    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
 13    first company to offer its innovative percussive devices and patented attachments,
 14    (3) loss of Therabody’s investment in building up the market for percussive
 15    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 16    unquantifiable effect on lost sales of related products, (6) price erosion due to
 17    Defendants’ First and Third Infringing Devices being sold at a price point lower
 18    than Therabody’s patented product, (7) diversion of resources to defend against
 19    loss of market share caused by sales of the First and Third Infringing Devices, and
 20    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 21    infringing attachments that leads to additional irreparable harm described above.
 22    Response No. 170:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 170.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 170 and therefore
 26    denies them.
 27
 28
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  1    Allegation No. 171:          Defendants’ acts of infringement, including continuing
  2    the infringing activities after receiving notice of Defendants’ direct and indirect
  3    infringement, have been, and continue to be, willful and deliberate and therefore
  4    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
  5    enhanced damages pursuant to 35 U.S.C. § 284.
  6    Response No. 171:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 171.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 171 and therefore
 10    denies them.
 11
 12                                 TENTH CAUSE OF ACTION
 13                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
 14                                           ‘D716 Patent
 15                                     (Against All Defendants)
 16    Allegation No. 172:          Therabody realleges and incorporates by reference all
 17    foregoing paragraphs as if fully set forth herein.
 18    Response No. 172:
 19             TJX realleges and incorporates by reference all foregoing paragraphs as if
 20    fully set forth herein.
 21
 22    Allegation No. 173:          At all times herein mentioned the ‘D716 Patent was and
 23    is valid and fully enforceable.
 24    Response No. 173:
 25             TJX denies the allegations in Paragraph 173.
 26
 27    Allegation No. 174:          Defendants are offering percussive massage devices that
 28    infringe the ‘D716 Patent, including at least the First and Third Infringing
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  1    Devices, as shown above. As shown below, a side by side comparison of FIG. 2 of
  2    Therabody’s ‘D716 Patent and Defendants’ First and Third Infringing Devices
  3    quickly reveals that the First and Third Infringing Devices appears substantially
  4    the same as Therabody’s ‘D716 Patent to an ordinary observer; the resemblance is
  5    such as to deceive such an observer, inducing him or her to purchase one
  6    supposing it to be the other. Among other things, an ordinary observer would
  7    conclude that the First and Third Infringing Devices have a number of the same,
  8    or very similar, features as the design patented in the ‘D716 Patent that contribute
  9    to an overall appearance that is substantially the same, including that both the
 10    patented design and First and Third Infringing Devices are (a) triangular shaped,
 11    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
 12    one another and the head portion), (c) have a rounded head portion, (d) circular
 13    medallion on the rounded head portion, and (e) a key-design extending from the
 14    rounded head portion along the third handle portion
 15    Response No. 174:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 174.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 174 and therefore
 19    denies them.
 20
 21    Allegation No. 175:          Defendants have and continue to directly infringe the
 22    ‘D716 Patent by making, using, offering for sale, selling and importing the First
 23    and Third Infringing Devices in conjunction with percussive massage devices
 24    competitive to Therabody.
 25    Response No. 175:
 26             With respect to TJX itself, TJX denies the allegations in Paragraph 175.
 27    With respect to any other defendant, TJX lacks knowledge or information
 28    sufficient to form a belief as to the allegations in Paragraph 175 and therefore
                                                    70
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
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  1    denies them.
  2
  3    Allegation No. 176:          Defendants’ infringement is based upon literal
  4    infringement or infringement under the doctrine of equivalents, or both.
  5    Response No. 176:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 176.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 176 and therefore
  9    denies them.
 10
 11    Allegation No. 177:          On information and belief, at least since Plaintiff’s
 12    August 11, 2021 letter, Defendants have knowingly and actively induced the
 13    infringement of one or more of the ‘D716 Patent claims by, inter alia, marketing,
 14    promoting, and offering for use the First and Third Infringing Devices, knowingly
 15    and intending that the use of the First and Third Infringing Devices by
 16    Defendants’ customers and by users infringes the ‘D716 Patent. For example,
 17    Defendants intend to induce such infringement by, among other things, promoting
 18    users to purchase and use the First and Third Infringing Devices knowing that
 19    their purchase and use infringes one or more claims of the ‘D716 Patent.
 20    Response No. 177:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 177.
 22    With respect to any other defendant, TJX lacks knowledge or information
 23    sufficient to form a belief as to the allegations in Paragraph 177 and therefore
 24    denies them.
 25
 26    Allegation No. 178:          On information and belief, at least since Plaintiff’s
 27    August 11, 2021 letter, Defendants have contributed to the infringement of the
 28    ‘D716 Patent by, inter alia, marketing and promoting the First and Third
                                                    71
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Infringing Devices to its customers and users. The First and Third Infringing
  2    Devices are not a staple article or commodity of commerce suitable for substantial
  3    non-infringing use and is known by Defendants to be especially made or
  4    especially adapted to the infringe the ‘D716 Patent. As a result, Defendants’ First
  5    and Third Infringing Devices have been used by their customers and by users to
  6    infringe the ‘D716 Patent. Defendants continue to engage in acts of contributory
  7    infringement of the ‘D716 Patent even after receiving notice of their contributory
  8    infringement.
  9    Response No. 178:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 178.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 178 and therefore
 13    denies them.
 14
 15    Allegation No. 179:          At no time has Therabody granted Defendants
 16    authorization, license, or permission to utilize the design claimed in the ‘D716
 17    Patent.
 18    Response No. 179:
 19             With respect to TJX itself, TJX admits that to date Therabody has not
 20    granted it an express license to the ‘D716 Patent. With respect to any other
 21    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 22    the allegations in Paragraph 179 and therefore denies them.
 23
 24    Allegation No. 180:          Therabody has been damaged by Defendants’ acts of
 25    infringement of the ‘D71h6 Patent and Therabody will continue to be damaged by
 26    such infringement unless enjoined by this Court. Therabody is entitled to recover
 27    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 28
                                                    72
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Response No. 180:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 180.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 180 and therefore
  5    denies them.
  6
  7    Allegation No. 181:          Therabody is, and has been, irreparably harmed by
  8    Defendants’ ongoing infringement including the following harm which cannot be
  9    quantified or recouped through monetary damages: (1) lost market share that will
 10    be difficult, if not impossible, to recoup later as the First and Third Infringing
 11    Devices become entrenched with retail sellers and trainers who recommend them
 12    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
 13    first company to offer its innovative percussive devices and patented attachments,
 14    (3) loss of Therabody’s investment in building up the market for percussive
 15    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 16    unquantifiable effect on lost sales of related products, (6) price erosion due to
 17    Defendants’ First and Third Infringing Devices being sold at a price point lower
 18    than Therabody’s patented product, (7) diversion of resources to defend against
 19    loss of market share caused by sales of the First and Third Infringing Devices, and
 20    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 21    infringing attachments that leads to additional irreparable harm described above.
 22    Response No. 181:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 181.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 181 and therefore
 26    denies them.
 27
 28
                                                    73
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Allegation No. 182:          Defendants’ acts of infringement, including continuing
  2    the infringing activities after receiving notice of Defendants’ direct and indirect
  3    infringement, have been, and continue to be, willful and deliberate and therefore
  4    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
  5    enhanced damages pursuant to 35 U.S.C. § 284.
  6    Response No. 182:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 182.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 182 and therefore
 10    denies them.
 11
 12                               ELEVENTH CAUSE OF ACTION
 13                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
 14                                           ‘D985 Patent
 15                                     (Against All Defendants)
 16    Allegation No. 183:          Therabody realleges and incorporates by reference all
 17    foregoing paragraphs as if fully set forth herein.
 18    Response No. 183:
 19             TJX realleges and incorporates by reference all foregoing paragraphs as if
 20    fully set forth herein.
 21
 22    Allegation No. 184:          At all times herein mentioned the ‘D985 Patent was and
 23    is valid and fully enforceable.
 24    Response No. 184:
 25             TJX denies the allegations in Paragraph 184.
 26
 27    Allegation No. 185:          Defendants are offering percussive massage devices that
 28    infringe the ‘D985 Patent, including at least the First and Third Infringing
                                                    74
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    Devices, as shown below. As shown below, a side by side comparison of FIG. 2
  2    of Therabody’s ‘D985 Patent and Defendants’ First and Third Infringing Devices
  3    quickly reveals that the First and Third Infringing Devices appears substantially
  4    the same as Therabody’s ‘D985 Patent to an ordinary observer; the resemblance is
  5    such as to deceive such an observer, inducing him or her to purchase one
  6    supposing it to be the other. Among other things, an ordinary observer would
  7    conclude that the First and Third Infringing Devices have a number of the same,
  8    or very similar, features as the design patented in the ‘D985 Patent that contribute
  9    to an overall appearance that is substantially the same, including that both the
 10    patented design and First and Third Infringing Devices are (a) triangular shaped,
 11    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
 12    one another and the head portion), (c) have a rounded head portion, (d) circular
 13    medallion on the rounded head portion, and (e) a key-design extending from the
 14    rounded head portion along the third handle portion:
 15    Response No. 185:
 16             With respect to TJX itself, TJX denies the allegations in Paragraph 185.
 17    With respect to any other defendant, TJX lacks knowledge or information
 18    sufficient to form a belief as to the allegations in Paragraph 185 and therefore
 19    denies them.
 20
 21    Allegation No. 186:          Defendants have and continue to directly infringe the
 22    ‘D985 Patent by making, using, offering for sale, selling and importing the First
 23    and Third Infringing Devices in conjunction with percussive massage devices
 24    competitive to Therabody.
 25    Response No. 186:
 26             With respect to TJX itself, TJX denies the allegations in Paragraph 186.
 27    With respect to any other defendant, TJX lacks knowledge or information
 28    sufficient to form a belief as to the allegations in Paragraph 186 and therefore
                                                    75
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
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  1    denies them.
  2
  3    Allegation No. 187:          Defendants’ infringement is based upon literal
  4    infringement or infringement under the doctrine of equivalents, or both.
  5    Response No. 187:
  6             With respect to TJX itself, TJX denies the allegations in Paragraph 187.
  7    With respect to any other defendant, TJX lacks knowledge or information
  8    sufficient to form a belief as to the allegations in Paragraph 187 and therefore
  9    denies them.
 10
 11    Allegation No. 188:          On information and belief, at least since Plaintiff’s
 12    August 11, 2021 letter, Defendants have knowingly and actively induced the
 13    infringement of one or more of the ‘D985 Patent claims by, inter alia, marketing,
 14    promoting, and offering for use the First and Third Infringing Devices, knowingly
 15    and intending that the use of the First and Third Infringing Devices by
 16    Defendants’ customers and by users infringes the ‘D985 Patent. For example,
 17    Defendants intend to induce such infringement by, among other things, promoting
 18    users to purchase and use the First and Third Infringing Devices knowing that
 19    their purchase and use infringes one or more claims of the ‘D985 Patent.
 20    Response No. 188:
 21             With respect to TJX itself, TJX denies the allegations in Paragraph 188.
 22    With respect to any other defendant, TJX lacks knowledge or information
 23    sufficient to form a belief as to the allegations in Paragraph 188 and therefore
 24    denies them.
 25
 26    Allegation No. 189:          On information and belief, at least since Plaintiff’s
 27    August 11, 2021 letter, Defendants have contributed to the infringement of the
 28    ‘D985 Patent by, inter alia, marketing and promoting the First and Third
                                                    76
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                                       TO FIRST AMENDED COMPLAINT
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  1    Infringing Devices to its customers and users. The First and Third Infringing
  2    Devices are not a staple article or commodity of commerce suitable for substantial
  3    non-infringing use and is known by Defendants to be especially made or
  4    especially adapted to the infringe the ‘D985 Patent. As a result, Defendants’ First
  5    and Third Infringing Devices have been used by their customers and by users to
  6    infringe the ‘D985 Patent. Defendants continue to engage in acts of contributory
  7    infringement of the ‘D985 Patent even after receiving notice of their contributory
  8    infringement.
  9    Response No. 189:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 189.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 189 and therefore
 13    denies them.
 14
 15    Allegation No. 190:          At no time has Therabody granted Defendants
 16    authorization, license, or permission to utilize the design claimed in the ‘D985
 17    Patent.
 18    Response No. 190:
 19             With respect to TJX itself, TJX admits that to date Therabody has not
 20    granted it an express license to the ‘D985 Patent. With respect to any other
 21    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 22    the allegations in Paragraph 190 and therefore denies them.
 23
 24    Allegation No. 191:          Therabody has been damaged by Defendants’ acts of
 25    infringement of the ‘D985 Patent and Therabody will continue to be damaged by
 26    such infringement unless enjoined by this Court. Therabody is entitled to recover
 27    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 28
                                                    77
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  1    Response No. 191:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 191.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 191 and therefore
  5    denies them.
  6
  7    Allegation No. 192:          Therabody is, and has been, irreparably harmed by
  8    Defendants’ ongoing infringement including the following harm which cannot be
  9    quantified or recouped through monetary damages: (1) lost market share that will
 10    be difficult, if not impossible, to recoup later as the First and Third Infringing
 11    Devices become entrenched with retail sellers and trainers who recommend them
 12    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
 13    first company to offer its innovative percussive devices and patented attachments,
 14    (3) loss of Therabody’s investment in building up the market for percussive
 15    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 16    unquantifiable effect on lost sales of related products, (6) price erosion due to
 17    Defendants’ First and Third Infringing Devices being sold at a price point lower
 18    than Therabody’s patented product, (7) diversion of resources to defend against
 19    loss of market share caused by sales of the First and Third Infringing Devices, and
 20    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 21    infringing attachments that leads to additional irreparable harm described above.
 22    Response No. 192:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 192.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 192 and therefore
 26    denies them.
 27
 28
                                                    78
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
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  1    Allegation No. 193:          Defendants’ acts of infringement, including continuing
  2    the infringing activities after receiving notice of Defendants’ direct and indirect
  3    infringement, have been, and continue to be, willful and deliberate and therefore
  4    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
  5    enhanced damages pursuant to 35 U.S.C. § 284.
  6    Response No. 193:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 193.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 193 and therefore
 10    denies them.
 11                              TWELVETH CAUSE OF ACTION
 12                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
 13                                           ‘D986 Patent
 14                                     (Against All Defendants)
 15    Allegation No. 194:          Therabody realleges and incorporates by reference all
 16    foregoing paragraphs as if fully set forth herein.
 17    Response No. 194:
 18             TJX realleges and incorporates by reference all foregoing paragraphs as if
 19    fully set forth herein.
 20
 21    Allegation No. 195:          At all times herein mentioned the ‘D986 Patent was and
 22    is valid and fully enforceable.
 23    Response No. 195:
 24             TJX denies the allegations in Paragraph 195.
 25
 26    Allegation No. 196:          Defendants are offering percussive massage devices that
 27    infringe the ‘D986 Patent, including at least the First and Third Infringing
 28    Devices, as shown below. As shown below, a side by side comparison of FIG. 2
                                                    79
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  1    of Therabody’s ‘D986 Patent and Defendants’ First and Third Infringing Devices
  2    quickly reveals that the First and Third Infringing Devices appear substantially the
  3    same as Therabody’s ‘D986 Patent to an ordinary observer; the resemblance is
  4    such as to deceive such an observer, inducing him or her to purchase one
  5    supposing it to be the other. Among other things, an ordinary observer would
  6    conclude that the First and Third Infringing Devices have a number of the same,
  7    or very similar, features as the design patented in the ‘D986 Patent that contribute
  8    to an overall appearance that is substantially the same, including that both the
  9    patented design and First and Third Infringing Devices are (a) triangular shaped,
 10    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
 11    one another and the head portion), (c) have a rounded head portion, and (d)
 12    circular medallion on the rounded head portion:
 13    Response No. 196:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 196.
 15    With respect to any other defendant, TJX lacks knowledge or information
 16    sufficient to form a belief as to the allegations in Paragraph 196 and therefore
 17    denies them.
 18
 19    Allegation No. 197:          Defendants have and continue to directly infringe the
 20    ‘D986 Patent by making, using, offering for sale, selling and importing the First
 21    and Third Infringing Devices in conjunction with percussive massage devices
 22    competitive to Therabody.
 23    Response No. 197:
 24             With respect to TJX itself, TJX denies the allegations in Paragraph 197.
 25    With respect to any other defendant, TJX lacks knowledge or information
 26    sufficient to form a belief as to the allegations in Paragraph 197 and therefore
 27    denies them.
 28
                                                    80
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  1    Allegation No. 198:          Defendants’ infringement is based upon literal
  2    infringement or infringement under the doctrine of equivalents, or both.
  3    Response No. 198:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 198.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 198 and therefore
  7    denies them.
  8
  9    Allegation No. 199:          On information and belief, at least since the filing of this
 10    complaint, Defendants have knowingly and actively induced the infringement of
 11    one or more of the ‘D986 Patent claims by, inter alia, marketing, promoting, and
 12    offering for use the First and Third Infringing Devices, knowingly and intending
 13    that the use of the First and Third Infringing Devices by Defendants’ customers
 14    and by users infringes the ‘D986 Patent. For example, Defendants intend to induce
 15    such infringement by, among other things, promoting users to purchase and use
 16    the First and Third Infringing Devices knowing that their purchase and use
 17    infringes one or more claims of the ‘D986 Patent.
 18    Response No. 199:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 199.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 199 and therefore
 22    denies them.
 23
 24    Allegation No. 200:          On information and belief, at least since the filing of this
 25    complaint, Defendants have contributed to the infringement of the ‘D986 Patent
 26    by, inter alia, marketing and promoting the First and Third Infringing Devices to
 27    its customers and users. The First and Third Infringing Devices are not a staple
 28    article or commodity of commerce suitable for substantial non-infringing use and
                                                    81
                         THE TJX COMPANIES, INC.’S ANSWER AND ADDITIONAL DEFENSES
                                       TO FIRST AMENDED COMPLAINT
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  1    is known by Defendants to be especially made or especially adapted to the
  2    infringe the ‘D986 Patent. As a result, Defendants’ First and Third Infringing
  3    Devices have been used by their customers and by users to infringe the ‘D986
  4    Patent. Defendants continue to engage in acts of contributory infringement of the
  5    ‘D986 Patent even after receiving notice of their contributory infringement.
  6    Response No. 200:
  7             With respect to TJX itself, TJX denies the allegations in Paragraph 200.
  8    With respect to any other defendant, TJX lacks knowledge or information
  9    sufficient to form a belief as to the allegations in Paragraph 200 and therefore
 10    denies them.
 11
 12    Allegation No. 201:          At no time has Therabody granted Defendants
 13    authorization, license, or permission to utilize the design claimed in the ‘D986
 14    Patent.
 15    Response No. 201:
 16             With respect to TJX itself, TJX admits that to date Therabody has not
 17    granted it an express license to the ‘D986 Patent. With respect to any other
 18    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 19    the allegations in Paragraph 201 and therefore denies them.
 20
 21    Allegation No. 202:          Therabody has been damaged by Defendants’ acts of
 22    infringement of the ‘D986 Patent and Therabody will continue to be damaged by
 23    such infringement unless enjoined by this Court. Therabody is entitled to recover
 24    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 25    Response No. 202:
 26             With respect to TJX itself, TJX denies the allegations in Paragraph 202.
 27    With respect to any other defendant, TJX lacks knowledge or information
 28    sufficient to form a belief as to the allegations in Paragraph 202 and therefore
                                                    82
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  1    denies them.
  2
  3    Allegation No. 203:          Therabody is, and has been, irreparably harmed by
  4    Defendants’ ongoing infringement including the following harm which cannot be
  5    quantified or recouped through monetary damages: (1) lost market share that will
  6    be difficult, if not impossible, to recoup later as the First and Third Infringing
  7    Devices become entrenched with retail sellers and trainers who recommend them
  8    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
  9    first company to offer its innovative percussive devices and patented attachments,
 10    (3) loss of Therabody’s investment in building up the market for percussive
 11    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 12    unquantifiable effect on lost sales of related products, (6) price erosion due to
 13    Defendants’ First and Third Infringing Devices being sold at a price point lower
 14    than Therabody’s patented product, (7) diversion of resources to defend against
 15    loss of market share caused by sales of the First and Third Infringing Devices, and
 16    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 17    infringing attachments that leads to additional irreparable harm described above.
 18    Response No. 203:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 203.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 203 and therefore
 22    denies them.
 23
 24    Allegation No. 204:          Defendants’ acts of infringement, including continuing
 25    the infringing activities after receiving notice of Defendants’ direct and indirect
 26    infringement, have been, and continue to be, willful and deliberate and therefore
 27    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 28    enhanced damages pursuant to 35 U.S.C. § 284
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  1    Response No. 204:
  2             With respect to TJX itself, TJX denies the allegations in Paragraph 204.
  3    With respect to any other defendant, TJX lacks knowledge or information
  4    sufficient to form a belief as to the allegations in Paragraph 204 and therefore
  5    denies them.
  6
  7                             THIRTEENTH CAUSE OF ACTION
  8                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
  9                                           ‘D601 Patent
 10                                     (Against All Defendants)
 11    Allegation No. 205:          Therabody realleges and incorporates by reference all
 12    foregoing paragraphs as if fully set forth herein.
 13    Response No. 205:
 14             TJX realleges and incorporates by reference all foregoing paragraphs as if
 15    fully set forth herein.
 16
 17    Allegation No. 206:          At all times herein mentioned the ‘D601 Patent was and
 18    is valid and fully enforceable.
 19    Response No. 206:
 20             TJX denies the allegations in Paragraph 206.
 21
 22    Allegation No. 207:          Defendants are offering percussive massage devices that
 23    infringe the ‘D601 Patent, including at least the First and Third Infringing
 24    Devices, as shown above. As shown below, a side by side comparison of FIG. 2 of
 25    Therabody’s ‘D601 Patent and Defendants’ First and Third Infringing Devices
 26    quickly reveals that the First and Third Infringing Devices appear substantially the
 27    same as Therabody’s ‘D601 Patent to an ordinary observer; the resemblance is
 28    such as to deceive such an observer, inducing him or her to purchase one
                                                    84
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  1    supposing it to be the other. Among other things, an ordinary observer would
  2    conclude that the First and Third Infringing Devices have a number of the same,
  3    or very similar, features as the design patented in the ‘D601 Patent that contribute
  4    to an overall appearance that is substantially the same, including that both the
  5    patented design and First and Third Infringing Devices are (a) triangular shaped,
  6    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
  7    one another and the head portion), (c) have a rounded head portion, and (d)
  8    circular medallion on the rounded head portion:
  9    Response No. 207:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 207.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 207 and therefore
 13    denies them.
 14
 15    Allegation No. 208:          Defendants have and continue to directly infringe the
 16    ‘D601 Patent by making, using, offering for sale, selling and importing the First
 17    and Third Infringing Devices in conjunction with percussive massage devices
 18    competitive to Therabody.
 19    Response No. 208:
 20             With respect to TJX itself, TJX denies the allegations in Paragraph 208.
 21    With respect to any other defendant, TJX lacks knowledge or information
 22    sufficient to form a belief as to the allegations in Paragraph 208 and therefore
 23    denies them.
 24
 25    Allegation No. 209:          Defendants’ infringement is based upon literal
 26    infringement or infringement under the doctrine of equivalents, or both.
 27    Response No. 209:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 209.
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 209 and therefore
  3    denies them.
  4
  5    Allegation No. 210:          On information and belief, at least since Plaintiff’s
  6    August 11, 2021 letter, Defendants have knowingly and actively induced the
  7    infringement of one or more of the ‘D601 Patent claims by, inter alia, marketing,
  8    promoting, and offering for use the First and Third Infringing Devices, knowingly
  9    and intending that the use of the First and Third Infringing Devices by
 10    Defendants’ customers and by users infringes the ‘D601 Patent. For example,
 11    Defendants intend to induce such infringement by, among other things, promoting
 12    users to purchase and use the First and Third Infringing Devices knowing that
 13    their purchase and use infringes one or more claims of the ‘D601 Patent.
 14    Response No. 210:
 15             With respect to TJX itself, TJX denies the allegations in Paragraph 210.
 16    With respect to any other defendant, TJX lacks knowledge or information
 17    sufficient to form a belief as to the allegations in Paragraph 210 and therefore
 18    denies them.
 19
 20    Allegation No. 211:          On information and belief, at least since Plaintiff’s
 21    August 11, 2021 letter, Defendants have contributed to the infringement of the
 22    ‘D601 Patent by, inter alia, marketing and promoting the First and Third
 23    Infringing Devices to its customers and users. The First and Third Infringing
 24    Devices are not a staple article or commodity of commerce suitable for substantial
 25    non-infringing use and is known by Defendants to be especially made or
 26    especially adapted to the infringe the ‘D601 Patent. As a result, Defendants’ First
 27    and Third Infringing Devices have been used by their customers and by users to
 28    infringe the ‘D601 Patent. Defendants continue to engage in acts of contributory
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  1    infringement of the ‘D601 Patent even after receiving notice of their contributory
  2    infringement.
  3    Response No. 211:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 211.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 211 and therefore
  7    denies them.
  8
  9    Allegation No. 212:          At no time has Therabody granted Defendants
 10    authorization, license, or permission to utilize the design claimed in the ‘D601
 11    Patent.
 12    Response No. 212:
 13             With respect to TJX itself, TJX admits that to date Therabody has not
 14    granted it an express license to the ‘D601 Patent. With respect to any other
 15    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 16    the allegations in Paragraph 212 and therefore denies them.
 17
 18    Allegation No. 213:          Therabody has been damaged by Defendants’ acts of
 19    infringement of the ‘D601 Patent and Therabody will continue to be damaged by
 20    such infringement unless enjoined by this Court. Therabody is entitled to recover
 21    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 22    Response No. 213:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 213.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 213 and therefore
 26    denies them.
 27
 28
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  1    Allegation No. 214:          Therabody is, and has been, irreparably harmed by
  2    Defendants’ ongoing infringement including the following harm which cannot be
  3    quantified or recouped through monetary damages: (1) lost market share that will
  4    be difficult, if not impossible, to recoup later as the First and Third Infringing
  5    Devices become entrenched with retail sellers and trainers who recommend them
  6    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
  7    first company to offer its innovative percussive devices and patented attachments,
  8    (3) loss of Therabody’s investment in building up the market for percussive
  9    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 10    unquantifiable effect on lost sales of related products, (6) price erosion due to
 11    Defendants’ First and Third Infringing Devices being sold at a price point lower
 12    than Therabody’s patented product, (7) diversion of resources to defend against
 13    loss of market share caused by sales of the First and Third Infringing Devices, and
 14    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 15    infringing attachments that leads to additional irreparable harm described above.
 16    Response No. 214:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 214.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 214 and therefore
 20    denies them.
 21
 22    Allegation No. 215:          Defendants’ acts of infringement, including continuing
 23    the infringing activities after receiving notice of Defendants’ direct and indirect
 24    infringement, have been, and continue to be, willful and deliberate and therefore
 25    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 26    enhanced damages pursuant to 35 U.S.C. § 284.
 27    Response No. 215:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 215.
                                                    88
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 215 and therefore
  3    denies them.
  4
  5                             FOURTEENTH CAUSE OF ACTION
  6                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
  7                                           ‘D573 Patent
  8                                     (Against All Defendants)
  9    Allegation No. 216:          Therabody realleges and incorporates by reference all
 10    foregoing paragraphs as if fully set forth herein.
 11    Response No. 216:
 12             TJX realleges and incorporates by reference all foregoing paragraphs as if
 13    fully set forth herein.
 14
 15    Allegation No. 217:          At all times herein mentioned the ‘D573 Patent was and
 16    is valid and fully enforceable.
 17    Response No. 217:
 18             TJX denies the allegations in Paragraph 217.
 19
 20    Allegation No. 218:          Defendants are offering percussive massage devices that
 21    infringe the ‘D573 Patent, including at least the First and Third Infringing
 22    Devices, as shown above. As shown below, a side by side comparison of FIG. 2 of
 23    Therabody’s ‘D573 Patent and Defendants’ First and Third Infringing Devices
 24    quickly reveals that the First and Third Infringing Devices appear substantially the
 25    same as Therabody’s ‘D573 Patent to an ordinary observer; the resemblance is
 26    such as to deceive such an observer, inducing him or her to purchase one
 27    supposing it to be the other. Among other things, an ordinary observer would
 28    conclude that the First and Third Infringing Devices have a number of the same,
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  1    or very similar, features as the design patented in the ‘D573 Patent that contribute
  2    to an overall appearance that is substantially the same, including that both the
  3    patented design and First and Third Infringing Devices are (a) triangular shaped,
  4    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
  5    one another and the head portion), (c) have a rounded head portion, and (d)
  6    circular medallion on the rounded head portion, and (e) a key-design extending
  7    from the rounded head portion along the third handle portion:
  8    Response No. 218:
  9             With respect to TJX itself, TJX denies the allegations in Paragraph 218.
 10    With respect to any other defendant, TJX lacks knowledge or information
 11    sufficient to form a belief as to the allegations in Paragraph 218 and therefore
 12    denies them.
 13
 14    Allegation No. 219:          Defendants have and continue to directly infringe the
 15    ‘D573 Patent by making, using, offering for sale, selling and importing the First
 16    and Third Infringing Devices in conjunction with percussive massage devices
 17    competitive to Therabody.
 18    Response No. 219:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 219.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 219 and therefore
 22    denies them.
 23
 24    Allegation No. 220:          Defendants’ infringement is based upon literal
 25    infringement or infringement under the doctrine of equivalents, or both.
 26    Response No. 220:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 220.
 28    With respect to any other defendant, TJX lacks knowledge or information
                                                    90
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  1    sufficient to form a belief as to the allegations in Paragraph 220 and therefore
  2    denies them.
  3
  4    Allegation No. 221:          On information and belief, at least since Plaintiff’s
  5    August 11, 2021 letter, Defendants have knowingly and actively induced the
  6    infringement of one or more of the ‘D573 Patent claims by, inter alia, marketing,
  7    promoting, and offering for use the First and Third Infringing Devices, knowingly
  8    and intending that the use of the First and Third Infringing Devices by
  9    Defendants’ customers and by users infringes the ‘D573 Patent. For example,
 10    Defendants intend to induce such infringement by, among other things, promoting
 11    users to purchase and use the First and Third Infringing Devices knowing that
 12    their purchase and use infringes one or more claims of the ‘D573 Patent.
 13    Response No. 221:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 221.
 15    With respect to any other defendant, TJX lacks knowledge or information
 16    sufficient to form a belief as to the allegations in Paragraph 221 and therefore
 17    denies them.
 18
 19    Allegation No. 222:          On information and belief, at least since Plaintiff’s
 20    August 11, 2021 letter, Defendants have contributed to the infringement of the
 21    ‘D573 Patent by, inter alia, marketing and promoting the First and Third
 22    Infringing Devices to its customers and users. The First and Third Infringing
 23    Devices are not a staple article or commodity of commerce suitable for substantial
 24    non-infringing use and is known by Defendants to be especially made or
 25    especially adapted to the infringe the ‘D573 Patent. As a result, Defendants’ First
 26    and Third Infringing Devices have been used by their customers and by users to
 27    infringe the ‘D573 Patent. Defendants continue to engage in acts of contributory
 28
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  1    infringement of the ‘D573 Patent even after receiving notice of their contributory
  2    infringement.
  3    Response No. 222:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 222.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 222 and therefore
  7    denies them.
  8
  9    Allegation No. 223:          At no time has Therabody granted Defendants
 10    authorization, license, or permission to utilize the design claimed in the ‘D573
 11    Patent.
 12    Response No. 223:
 13             With respect to TJX itself, TJX admits that to date Therabody has not
 14    granted it an express license to the ‘D573 Patent. With respect to any other
 15    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 16    the allegations in Paragraph 223 and therefore denies them.
 17
 18    Allegation No. 224:          Therabody has been damaged by Defendants’ acts of
 19    infringement of the ‘D573 Patent and Therabody will continue to be damaged by
 20    such infringement unless enjoined by this Court. Therabody is entitled to recover
 21    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 22    Response No. 224:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 224.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 224 and therefore
 26    denies them.
 27
 28
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  1    Allegation No. 225:          Therabody is, and has been, irreparably harmed by
  2    Defendants’ ongoing infringement including the following harm which cannot be
  3    quantified or recouped through monetary damages: (1) lost market share that will
  4    be difficult, if not impossible, to recoup later as the First and Third Infringing
  5    Devices become entrenched with retail sellers and trainers who recommend them
  6    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
  7    first company to offer its innovative percussive devices and patented attachments,
  8    (3) loss of Therabody’s investment in building up the market for percussive
  9    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 10    unquantifiable effect on lost sales of related products, (6) price erosion due to
 11    Defendants’ First and Third Infringing Devices being sold at a price point lower
 12    than Therabody’s patented product, (7) diversion of resources to defend against
 13    loss of market share caused by sales of the First and Third Infringing Devices, and
 14    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 15    infringing attachments that leads to additional irreparable harm described above.
 16    Response No. 225:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 225.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 225 and therefore
 20    denies them.
 21
 22    Allegation No. 226:          Defendants’ acts of infringement, including continuing
 23    the infringing activities after receiving notice of Defendants’ direct and indirect
 24    infringement, have been, and continue to be, willful and deliberate and therefore
 25    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 26    enhanced damages pursuant to 35 U.S.C. § 284.
 27    Response No. 226:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 226.
                                                    93
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 226 and therefore
  3    denies them.
  4
  5                              FIFTEENTH CAUSE OF ACTION
  6                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
  7                                           ‘D396 Patent
  8                                     (Against All Defendants)
  9    Allegation No. 227:          Therabody realleges and incorporates by reference all
 10    foregoing paragraphs as if fully set forth herein.
 11    Response No. 227:
 12             TJX realleges and incorporates by reference all foregoing paragraphs as if
 13    fully set forth herein.
 14
 15    Allegation No. 228:          At all times herein mentioned the ‘D396 Patent was and
 16    is valid and fully enforceable.
 17    Response No. 228:
 18             TJX denies the allegations in Paragraph 228.
 19
 20    Allegation No. 229:          Defendants are offering percussive massage devices that
 21    infringe the ‘D396 Patent, including at least the First and Third Infringing
 22    Devices, as shown below. As shown below, a side by side comparison of FIG. 2
 23    of Therabody’s ‘D396 Patent and Defendants’ First and Third Infringing Devices
 24    quickly reveals that the First and Third Infringing Devices appear substantially the
 25    same as Therabody’s ‘D396 Patent to an ordinary observer; the resemblance is
 26    such as to deceive such an observer, inducing him or her to purchase one
 27    supposing it to be the other. Among other things, an ordinary observer would
 28    conclude that the First and Third Infringing Devices have a number of the same,
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  1    or very similar, features as the design patented in the ‘D396 Patent that contribute
  2    to an overall appearance that is substantially the same, including that both the
  3    patented design and First and Third Infringing Devices are (a) triangular shaped,
  4    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
  5    one another and the head portion), (c) have a rounded head portion, and (d)
  6    circular medallion on the rounded head portion, and (e) a key-design extending
  7    from the rounded head portion along the third handle portion:
  8    Response No. 229:
  9             With respect to TJX itself, TJX denies the allegations in Paragraph 229.
 10    With respect to any other defendant, TJX lacks knowledge or information
 11    sufficient to form a belief as to the allegations in Paragraph 229 and therefore
 12    denies them.
 13
 14    Allegation No. 230:          Defendants have and continue to directly infringe the
 15    ‘D396 Patent by making, using, offering for sale, selling and importing the First
 16    and Third Infringing Devices in conjunction with percussive massage devices
 17    competitive to Therabody.
 18    Response No. 230:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 230.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 230 and therefore
 22    denies them.
 23
 24    Allegation No. 231:          Defendants’ infringement is based upon literal
 25    infringement or infringement under the doctrine of equivalents, or both.
 26    Response No. 231:
 27             With respect to TJX itself, TJX denies the allegations in Paragraph 231.
 28    With respect to any other defendant, TJX lacks knowledge or information
                                                    95
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  1    sufficient to form a belief as to the allegations in Paragraph 231 and therefore
  2    denies them.
  3
  4    Allegation No. 232:          On information and belief, at least since Plaintiff’s
  5    August 11, 2021 letter, Defendants have knowingly and actively induced the
  6    infringement of one or more of the ‘D396 Patent claims by, inter alia, marketing,
  7    promoting, and offering for use the First and Third Infringing Devices, knowingly
  8    and intending that the use of the First and Third Infringing Devices by
  9    Defendants’ customers and by users infringes the ‘D396 Patent. For example,
 10    Defendants intend to induce such infringement by, among other things, promoting
 11    users to purchase and use the First and Third Infringing Devices knowing that
 12    their purchase and use infringes one or more claims of the ‘D396 Patent.
 13    Response No. 232:
 14             With respect to TJX itself, TJX denies the allegations in Paragraph 232.
 15    With respect to any other defendant, TJX lacks knowledge or information
 16    sufficient to form a belief as to the allegations in Paragraph 232 and therefore
 17    denies them.
 18
 19    Allegation No. 233:          On information and belief, at least since Plaintiff’s
 20    August 11, 2021 letter, Defendants have contributed to the infringement of the
 21    ‘D396 Patent by, inter alia, marketing and promoting the First and Third
 22    Infringing Devices to its customers and users. The First and Third Infringing
 23    Devices are not a staple article or commodity of commerce suitable for substantial
 24    non-infringing use and is known by Defendants to be especially made or
 25    especially adapted to the infringe the ‘D396 Patent. As a result, Defendants’ First
 26    and Third Infringing Devices has been used by their customers and by users to
 27    infringe the ‘D396 Patent. Defendants continue to engage in acts of contributory
 28
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  1    infringement of the ‘D396 Patent even after receiving notice of their contributory
  2    infringement.
  3    Response No. 233:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 233.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 233 and therefore
  7    denies them.
  8
  9    Allegation No. 234:          At no time has Therabody granted Defendants
 10    authorization, license, or permission to utilize the design claimed in the ‘D396
 11    Patent.
 12    Response No. 234:
 13             With respect to TJX itself, TJX admits that to date Therabody has not
 14    granted it an express license to the ‘D396 Patent. With respect to any other
 15    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 16    the allegations in Paragraph 234 and therefore denies them.
 17
 18    Allegation No. 235:          Therabody has been damaged by Defendants’ acts of
 19    infringement of the ‘D396 Patent and Therabody will continue to be damaged by
 20    such infringement unless enjoined by this Court. Therabody is entitled to recover
 21    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 22    Response No. 235:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 235.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 235 and therefore
 26    denies them.
 27
 28
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  1    Allegation No. 236:          Therabody is, and has been, irreparably harmed by
  2    Defendants’ ongoing infringement including the following harm which cannot be
  3    quantified or recouped through monetary damages: (1) lost market share that will
  4    be difficult, if not impossible, to recoup later as the First and Third Infringing
  5    Devices become entrenched with retail sellers and trainers who recommend them
  6    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
  7    first company to offer its innovative percussive devices and patented attachments,
  8    (3) loss of Therabody’s investment in building up the market for percussive
  9    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 10    unquantifiable effect on lost sales of related products, (6) price erosion due to
 11    Defendants’ First and Third Infringing Devices being sold at a price point lower
 12    than Therabody’s patented product, (7) diversion of resources to defend against
 13    loss of market share caused by sales of the First and Third Infringing Devices, and
 14    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 15    infringing attachments that leads to additional irreparable harm described above.
 16    Response No. 236:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 236.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 236 and therefore
 20    denies them.
 21
 22    Allegation No. 237:          Defendants’ acts of infringement, including continuing
 23    the infringing activities after receiving notice of Defendants’ direct and indirect
 24    infringement, have been, and continue to be, willful and deliberate and therefore
 25    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 26    enhanced damages pursuant to 35 U.S.C. § 284.
 27    Response No. 237:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 237.
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 237 and therefore
  3    denies them.
  4
  5                              SIXTEENTH CAUSE OF ACTION
  6                           Patent Infringement, 35 U.S.C., §§ 101 et seq.
  7                                           ‘D915 Patent
  8                                     (Against All Defendants)
  9
 10    Allegation No. 238:          Therabody realleges and incorporates by reference all
 11    foregoing paragraphs as if fully set forth herein.
 12    Response No. 238:
 13             TJX realleges and incorporates by reference all foregoing paragraphs as if
 14    fully set forth herein.
 15
 16    Allegation No. 239:          At all times herein mentioned the ‘D915 Patent was and
 17    is valid and fully enforceable
 18    Response No. 239:
 19             TJX denies the allegations in Paragraph 239.
 20
 21    Allegation No. 240:          Defendants are offering percussive massage devices that
 22    infringe the ‘D915 Patent, including at least the First and Third Infringing
 23    Devices, as shown below. As shown below, a side by side comparison of FIG. 2
 24    of Therabody’s ‘D915 Patent and Defendants’ First and Third Infringing Devices
 25    quickly reveals that the First and Third Infringing Devices appear substantially the
 26    same as Therabody’s ‘D915 Patent to an ordinary observer; the resemblance is
 27    such as to deceive such an observer, inducing him or her to purchase one
 28    supposing it to be the other. Among other things, an ordinary observer would
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  1    conclude that the First and Third Infringing Devices have a number of the same,
  2    or very similar, features as the design patented in the ‘D915 Patent that contribute
  3    to an overall appearance that is substantially the same, including that both the
  4    patented design and First and Third Infringing Devices are (a) triangular shaped,
  5    (b) have the same relative dimensions (e.g., relative lengths of handle portions to
  6    one another and the head portion), (c) have a rounded head portion, and (d)
  7    circular medallion on the rounded head portion, and (e) a key-design extending
  8    from the rounded head portion along the third handle portion:
  9    Response No. 240:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 240.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 240 and therefore
 13    denies them.
 14
 15    Allegation No. 241:          Defendants have and continue to directly infringe the
 16    ‘D915 Patent by making, using, offering for sale, selling and importing the First
 17    and Third Infringing Devices in conjunction with percussive massage devices
 18    competitive to Therabody.
 19    Response No. 241:
 20             With respect to TJX itself, TJX denies the allegations in Paragraph 241.
 21    With respect to any other defendant, TJX lacks knowledge or information
 22    sufficient to form a belief as to the allegations in Paragraph 241 and therefore
 23    denies them.
 24
 25    Allegation No. 242:          Defendants’ infringement is based upon literal
 26    infringement or infringement under the doctrine of equivalents, or both.
 27    Response No. 242:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 242.
                                                   100
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 242 and therefore
  3    denies them.
  4
  5    Allegation No. 243:          On information and belief, at least since Plaintiff’s
  6    August 11, 2021 letter, Defendants have knowingly and actively induced the
  7    infringement of one or more of the ‘D915 Patent claims by, inter alia, marketing,
  8    promoting, and offering for use the First and Third Infringing Devices, knowingly
  9    and intending that the use of the First and Third Infringing Devices by
 10    Defendants’ customers and by users infringes the ‘D915 Patent. For example,
 11    Defendants intend to induce such infringement by, among other things, promoting
 12    users to purchase and use the First and Third Infringing Devices knowing that
 13    their purchase and use infringes one or more claims of the ‘D915 Patent.
 14    Response No. 243:
 15             With respect to TJX itself, TJX denies the allegations in Paragraph 243.
 16    With respect to any other defendant, TJX lacks knowledge or information
 17    sufficient to form a belief as to the allegations in Paragraph 243 and therefore
 18    denies them.
 19
 20    Allegation No. 244:          On information and belief, at least since Plaintiff’s
 21    August 11, 2021 letter, Defendants have contributed to the infringement of the
 22    ‘D915 Patent by, inter alia, marketing and promoting the First and Third
 23    Infringing Devices to its customers and users. The First and Third Infringing
 24    Devices are not a staple article or commodity of commerce suitable for substantial
 25    non-infringing use and is known by Defendants to be especially made or
 26    especially adapted to the infringe the ‘D915 Patent. As a result, Defendants’ First
 27    and Third Infringing Devices have been used by their customers and by users to
 28    infringe the ‘D915 Patent. Defendants continue to engage in acts of contributory
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  1    infringement of the ‘D915 Patent even after receiving notice of their contributory
  2    infringement.
  3    Response No. 244:
  4             With respect to TJX itself, TJX denies the allegations in Paragraph 244.
  5    With respect to any other defendant, TJX lacks knowledge or information
  6    sufficient to form a belief as to the allegations in Paragraph 244 and therefore
  7    denies them.
  8
  9    Allegation No. 245:          At no time has Therabody granted Defendants
 10    authorization, license, or permission to utilize the design claimed in the ‘D915
 11    Patent.
 12    Response No. 245:
 13             With respect to TJX itself, TJX admits that to date Therabody has not
 14    granted it an express license to the ‘D915 Patent. With respect to any other
 15    defendant, TJX lacks knowledge or information sufficient to form a belief as to
 16    the allegations in Paragraph 245 and therefore denies them.
 17
 18    Allegation No. 246:          Therabody has been damaged by Defendants’ acts of
 19    infringement of the ‘D915 Patent and Therabody will continue to be damaged by
 20    such infringement unless enjoined by this Court. Therabody is entitled to recover
 21    damages adequate to compensate for the infringement under 35 U.S.C. § 284.
 22    Response No. 246:
 23             With respect to TJX itself, TJX denies the allegations in Paragraph 246.
 24    With respect to any other defendant, TJX lacks knowledge or information
 25    sufficient to form a belief as to the allegations in Paragraph 245 and therefore
 26    denies them.
 27
 28
                                                   102
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  1    Allegation No. 247:          Therabody is, and has been, irreparably harmed by
  2    Defendants’ ongoing infringement including the following harm which cannot be
  3    quantified or recouped through monetary damages: (1) lost market share that will
  4    be difficult, if not impossible, to recoup later as the First and Third Infringing
  5    Devices become entrenched with retail sellers and trainers who recommend them
  6    to their clients, (2) loss of first mover advantage that Therabody enjoyed as the
  7    first company to offer its innovative percussive devices and patented attachments,
  8    (3) loss of Therabody’s investment in building up the market for percussive
  9    devices, (4) negative effect on its reputation as innovator and pioneer, (5) the
 10    unquantifiable effect on lost sales of related products, (6) price erosion due to
 11    Defendants’ First and Third Infringing Devices being sold at a price point lower
 12    than Therabody’s patented product, (7) diversion of resources to defend against
 13    loss of market share caused by sales of the First and Third Infringing Devices, and
 14    (8) Defendants’ unauthorized sales that are enticing others to offer for sale and sell
 15    infringing attachments that leads to additional irreparable harm described above.
 16    Response No. 247:
 17             With respect to TJX itself, TJX denies the allegations in Paragraph 247.
 18    With respect to any other defendant, TJX lacks knowledge or information
 19    sufficient to form a belief as to the allegations in Paragraph 247 and therefore
 20    denies them.
 21
 22    Allegation No. 248:          Defendants’ acts of infringement, including continuing
 23    the infringing activities after receiving notice of Defendants’ direct and indirect
 24    infringement, have been, and continue to be, willful and deliberate and therefore
 25    warrant the award of attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of
 26    enhanced damages pursuant to 35 U.S.C. § 284.
 27    Response No. 248:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 248.
                                                   103
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 248 and therefore
  3    denies them.
  4
  5                            SEVENTEENTH CAUSE OF ACTION
  6                 State Unfair Business Practices, Cal. Bus. & Prof. Code § 17200
  7                                     (Against All Defendants)
  8    Allegation No. 249:          Therabody realleges and incorporates by reference all
  9    foregoing paragraphs as if fully set forth herein.
 10    Response No. 249:
 11             TJX realleges and incorporates by reference all foregoing paragraphs as if
 12    fully set forth herein.
 13
 14    Allegation No. 250:          Defendants’ acts of trademark, trade dress, false
 15    designation of origin, and unfair competition alleged herein constitute unlawful,
 16    unfair and fraudulent business practices and misleading advertising pursuant to
 17    Cal. Bus. & Prof. Code § 17200.
 18    Response No. 250:
 19             With respect to TJX itself, TJX denies the allegations in Paragraph 250.
 20    With respect to any other defendant, TJX lacks knowledge or information
 21    sufficient to form a belief as to the allegations in Paragraph 250 and therefore
 22    denies them.
 23
 24    Allegation No. 251:          Therabody has been damaged and will continue to be
 25    damaged by Defendants’ unlawful, unfair and fraudulent business practices and
 26    misleading advertising, as described above.
 27    Response No. 251:
 28             With respect to TJX itself, TJX denies the allegations in Paragraph 251.
                                                   104
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  1    With respect to any other defendant, TJX lacks knowledge or information
  2    sufficient to form a belief as to the allegations in Paragraph 251 and therefore
  3    denies them.
  4
  5    Allegation No. 252:          Pursuant to Cal. Bus. & Prof. Code § 17200, Plaintiff is
  6    entitled to an injunction prohibiting Defendants from continuing the practices
  7    described above, and restitution of all amounts acquired by Defendants by means
  8    of such wrongful acts.
  9    Response No. 252:
 10             With respect to TJX itself, TJX denies the allegations in Paragraph 252.
 11    With respect to any other defendant, TJX lacks knowledge or information
 12    sufficient to form a belief as to the allegations in Paragraph 252 and therefore
 13    denies them.
 14
 15                                    PRAYER FOR RELIEF
 16             TJX denies each and every allegation contained in the Prayer for Relief
 17    including (without limitation) Therabody’s allegation that it is entitled or should
 18    be granted any relief in this matter, including any of the relief Therabody seeks in
 19    Paragraphs A through P.
 20
 21                               TJX’S ADDITIONAL DEFENSES
 22                               FIRST ADDITIONAL DEFENSE
 23             Upon information and belief, and without prejudice to further amendment
 24    upon information found during discovery, each asserted claim of the patents
 25    asserted by Therabody is invalid for failure to satisfy the conditions of
 26    patentability as specified under one or more sections of Title 35 of the United
 27    States Code, including, without limitation, 35 U.S.C. §§ 101, 102, 103, 112,
 28    and/or 171. Among other things, the design patents-in-suit are invalid due to their
                                                   105
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  1    functionality, and all patents-in-suit are invalid as anticipated, obvious and lacking
  2    patentable subject matter.
  3
  4                              SECOND ADDITIONAL DEFENSE
  5             TJX does not infringe any of the claims of the patents-in-suit directly or
  6    indirectly, literally or under the doctrine of equivalents.
  7
  8                               THIRD ADDITIONAL DEFENSE
  9             Upon information and belief, by reason of the proceedings in the U.S.
 10    Patent and Trademark Office (“USPTO”) during the prosecution of the
 11    applications resulting in the issuance of the patents asserted by Therabody,
 12    namely, the admissions, representations, and amendments made on behalf of the
 13    applicants for those patents, Therabody is estopped from extending the coverage
 14    of the asserted claims in the asserted patents, including under the doctrine of
 15    equivalents, to cover the accused instrumentalities.
 16
 17                              FOURTH ADDITIONAL DEFENSE
 18             Upon information and belief, Therabody has made claims that are barred in
 19    whole or in part by the doctrines of acquiescence, estoppel, laches, waiver and/or
 20    unclean hands.
 21
 22                               FIFTH ADDITIONAL DEFENSE
 23             Therabody’s pre-lawsuit claims for damages as to the asserted patents are
 24    barred, in whole or in part, for failure to comply with 35 U.S.C. § 287, and its
 25    damages are limited under 35 U.S.C. § 286.
 26
 27                               SIXTH ADDITIONAL DEFENSE
 28             Therabody has failed to state a claim against TJX upon which relief may be
                                                   106
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  1    granted.
  2
  3                             SEVENTH ADDITIONAL DEFENSE
  4           Therabody engaged in trademark misuse by having wrongfully asserted, or
  5    attempted to extend the scope of, the alleged trademarks or trade dress.
  6
  7                              EIGHTH ADDITIONAL DEFENSE
  8             Any use by TJX of the trademarks or trade dress that are the subject of the
  9    Complaint is a fair use.
 10
 11                               NINTH ADDITIONAL DEFENSE
 12             The trade dress Therabody asserts is functional.
 13
 14                               TENTH ADDITIONAL DEFENSE
 15             Therabody’s trademarks and trade dress are not distinctive and lack
 16    secondary meaning.
 17
 18             TJX reserves all additional defenses under Rule 8(c) of the Federal Rules of
 19    Civil Procedure, the Lanham Act, the Patent Laws of the United States and any
 20    other defenses, at law or in equity, that may now exist or in the future be available
 21    based on discovery and further factual investigation in this case.
 22
 23                                        JURY DEMAND
 24           TJX hereby claims a jury as to all claims and defenses so triable.
 25
 26                                    PRAYER FOR RELIEF
 27             WHEREFORE, TJX respectfully prays that judgment be entered in their
 28    favor and against Plaintiff as follows:
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  1             A. Enter judgment against Plaintiff and in favor of TJX, thereby dismissing
  2    Plaintiff’s Complaint with prejudice, and order that Plaintiff is entitled to no
  3    recovery on the Complaint;
  4             B. Find that TJX has not infringed and is not infringing any valid claim of
  5    the Patents-in-Suit, either directly or indirectly, literally or under the doctrine of
  6    equivalents, contributorily, willfully, or otherwise, and have not induced others to
  7    infringe the Patents-in-Suit;
  8             C. Find that TJX has not infringed and is not infringing Plaintiff’s
  9    trademarks and trade dress, and that Plaintiff is without right or authority to object
 10    to TJX’s alleged action on the basis of the alleged infringement, unfair
 11    competition, or unfair business practices under federal or state law;
 12             D. Find that the claims of the Patents-in-Suit, and Plaintiff’s trademarks and
 13    trade dress, are invalid;
 14             E. Find that no damages or royalties are due for any of the acts alleged by
 15    Plaintiff in its Complaint;
 16             F. Find that this is an exceptional case pursuant to 35 U.S.C. § 285 and 15
 17    U.S.C. § 1117, and award TJX its attorneys’ fees and full costs of suit; and
 18             G. Grant such other further relief as the Court may deem proper and just.
 19
 20    Dated: April 20, 2022                    DLA PIPER LLP (US)
 21
 22                                             By: /s/ Michael D. Jay
                                                   MICHAEL D. JAY
 23                                                Attorneys for Defendant
                                                   THE TJX COMPANIES, INC.
 24
 25
 26
 27
 28
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